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Attorneys for Plaintiffs


                    IN THE SIXTH JUDICIAL DISTRICT COURT,

         IN AND FOR SANPETE COUNTY, MANTI, UTAH DEPARTMENT


ELANORE TILLACK AND ED TILLACK,             COMPLAINT TIER III
                                            (More than $300,000.00)
          Plaintiffs,

v.

FORD MOTOR COMPANY, a Delaware
Corporation, dba LINCOLN MOTOR
COMPANY; FORD MOTOR SERVICE
COMPANY; BLUFF STREET AUTO
BROKERS, LLC, Utah; TAKATA
CORPORATION, aka TAKATA
PROTECTION SYSTEMS INC. TKJP;
TAKATA KYUSHU CORPORATION;
TAKATA SERVICE CORPORATION,
acquired in part by KEY SAFETY
SYSTEMS (KSS); and JOHN DOE
CORPORATIONS 1-5,                           Civil Number

          Defendants.                       Judge


     Plaintiffs complain of Defendants as follows:
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                                             I.

                        PARTIES, JURISDICTION, AND VENUE

       1.     At all material times herein, Plaintiffs were residents of Sanpete County,

State of Utah. Plaintiffs purchased the Lincoln Zephyr from Bluff Street Auto Brokers

(hereafter “Auto Brokers” or “Defendant.”) Auto Brokers was in the business of selling

and servicing automobiles in Southern Utah, including St. George.

       2.     At all material times herein, Defendant Ford Motor Company, a Delaware

Corporation, doing business as Lincoln Motor Company, was authorized to sale and

service Ford and Lincoln Motor vehicles throughout the State of Utah, and serviced the

area of Sanpete County.

       3.     At all material times herein, Ford Motor Service Company was authorized

to transact business in the State of Utah, and was doing so in maintaining and servicing

Ford and Lincoln Motor vehicles throughout the State of Utah, including Sanpete

County. Ford Motor Company, a Delaware Corporation, doing business as Lincoln

Motor Company, and Ford Motor Service Company are hereafter collectively referred to

as “Ford” or “Defendants.”

       4.     Defendants Takata Corporation, also known as Takata Protection

Systems Inc.; Takata Kyushu Corporation; Takata Service Corporation, acquired in part

by Key Safety Systems (KSS), collectively referred to as Takata, Ford, and Defendants,

and John Doe Corporations 1-5 are other corporations of contractors; manufacturers;

parts manufacturers; assemblers; installers of parts; sensors; and electrical circuits that

are not manufactured by Ford. The names and identities of these companies will be



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added to the Complaint once their identities are known to Plaintiffs. Takata is

collectively referred to in this Complaint under “Ford” or “Defendants.” Takata is

authorized to provide airbags, component parts, and safety features found in Ford

Lincoln vehicles, including the 2006 Lincoln Zephyr.

       5.     This cause of action arose in Sanpete County, Manti, Utah, on January 3,

2020, when Plaintiff Elanore Tillack was involved in a serious car accident, where the

airbags failed to deploy, thereby conferring jurisdiction and venue upon this Court.

                                             II.

                                  STATEMENT OF FACTS

       6.     Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 5 above.

       7.     Ford has been in the business of manufacturing, selling, and servicing

automobiles for over a century.

       8.     In 2006, Ford manufactured the Lincoln Zephyr.

       9.     In 2007, Plaintiffs purchased the 2006 Ford Lincoln Zephyr from

Defendant Bluff Street Auto Brokers.

       10.    Plaintiffs maintained the 2006 Ford Lincoln Zephyr as required throughout

their years of their ownership.

       11.    Unbeknownst to Plaintiffs, Ford and airbag manufacturer Takata, had

been engaged in receiving complaints about airbags that did not deploy or exploded

upon deployment, causing serious injuries.




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       12.    Unbeknownst to Plaintiffs, as these complaints continued to be reported,

Ford took no action to remedy the situation.

       13.    Eventually, approximately, 67 million airbags in 42 million vehicles were

recalled in one of the largest recall efforts in United States history.

       14.    Plaintiffs lived in a small community in Manti, Utah, and continued about

their normal affairs over the next thirteen (13) years after purchasing their 2006 Ford

Lincoln Zephyr.

       15.    On January 3, 2020, Plaintiff was driving her 2006 Ford Lincoln Zephyr to

the temple in Manti.

       16.    Elanore Tillack was driving the vehicle with her grandson, Trey, in the

passenger side of the back seat.

       17.    Plaintiff drove east from her home, which was located on Keller Road, to

the intersection with U.S. 89.

       18.    The southbound side of U.S. 89 has a left turn lane to turn onto Keller

Road, and two lanes for southbound traffic.

       19.    As Plaintiff attempted to make a right-hand-turn into lane 2, a vehicle

struck Plaintiff’s driver’s side quarter panel, traveling at approximately 70 m.p.h.

       20.    The crash was so significant that it spun the Tillack vehicle around, which

was struck by another vehicle.

       21.    Emergency personnel were summoned to the scene.

       22.    Plaintiff Elanore Tillack sustained serious injuries and was flown to Utah

Valley Hospital in Utah County.



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       23.     Plaintiff Elanore Tillack sustained serious injuries to her head; brain injury;

fractured clavicle; sternum fracture; left rib fracture; right rib fracture; collapsed lung;

right radial wrist fracture; right sacral fracture; pubic rami fracture; left tibial fracture;

hips; and soft tissue injuries to her body.

       24.     Plaintiff spent substantial time rehabilitating from her injuries.

       25.     At some point later in January of 2020, Plaintiff received a recall notice

regarding an urgent safety recall.

       26.     Once Plaintiff Elanore Tillack was well enough to look at the mail, she

discovered that she had received an urgent airbag recall on the 2006 Ford Lincoln

Zephyr that she was involved in with the crash. It was the latter part of January when

she discovered the urgent airbag recall.

       27.     Prior to this particular airbag recall received in 2020, the Tillacks do not

recall receiving any other notice or complication regarding the airbags in the 2006 Ford

Lincoln Zephyr.

       28.     After Plaintiff Elanore Tillack was well enough to go through the mail and

observe the recall, they did an investigation to determine, by vin number, if their

particular vehicle was part of the recall. Upon checking the vin number of their 2006

Ford Lincoln Zephyr, it was, in fact, part of this largest airbag recall in U.S. history.

       29.     Plaintiffs allege that Ford manufactured the airbag sensors; airbag

modules; electrical parts; and wiring.

       30.     Plaintiffs allege that Ford chose what sensors; electrical parts; wiring;

modules; and Takata parts to install, assemble, manufacture the airbag and its



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components and implied, expressed, represented, and warranted the Zephyr and its

safety components, including the above and the Takata airbag.

       31.     Plaintiffs allege that Ford knew there were safer components and airbags

available in 2006, free from design and manufacturing defects, but chose to

manufacture and install said sensors; modules; wiring; electrical parts; and Takata

airbags that were defective in design or manufacture.

       32.     Plaintiffs relied on Ford’s and Defendants’ representations, warranties,

and guarantees, expressed and implied, that the 2006 Ford Lincoln Zephyr would

perform as Plaintiffs use in their ordinary driving, and that the safety features, including

the airbags and component parts, are fit for the ordinary purpose and would engage to

protect Plaintiffs.

       33.     Over the next thirteen years, Ford/Defendants received numerous

complaints and warnings, and possessed knowledge that the airbags and components

were defectively designed and manufactured, and could not protect Plaintiffs. Ford

failed to notify Plaintiffs of the recall until sometime after Elanore was injured.

                                              III.

                                FIRST CAUSE OF ACTION
                                       Negligence
                                 (Against All Defendants)

       34.     Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 33 above.

       35.     After the Tillacks determined that they had received this urgent recall and

discovered this recall in the latter part of January 2020, a vehicle inspection was



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eventually set up with Ford’s attorney. Upon inspecting the vehicle, it was Plaintiff’s

position that she was hit with such force in two (2) different impacts, that the airbags

should have deployed, which would have minimized her injuries.

       36.    Plaintiffs allege that Defendants had a duty to make sure that the 2006

Ford Lincoln Zephyr was safe when it left the Ford manufacturing plant, and all of the

components, including the sensors to the airbags; wiring; electrical circuits; air bag

modules; diagnostic modules; and air bag inflator were properly manufactured,

designed, and installed.

       37.    Plaintiffs allege that Defendants breached their duty and were negligent in

making sure the 2006 Ford Lincoln Zephyr was safe for Plaintiffs to operate. On

January 3, 2020, Plaintiffs’ vehicle was violently struck by two vehicles and none of the

airbags deployed, resulting in more serious injuries to Elanore.

       38.    As a direct and proximate result of Defendants’ negligent acts, omissions,

and wrongful conduct, Plaintiff sustained injuries outlined above and incurred past,

present, and future medical expenses in an amount not less than $245,000.00; out-of-

pocket expenses; and consequential damages in an amount to be established at trial,

but not less than $300,000.00.

       39.    As a further direct and proximate result of Defendants’ negligent acts,

omissions, and wrongful conduct, Plaintiffs sustained past, present, and future general

damages, including physical pain and suffering; emotional pain and suffering; loss of

enjoyment of life; permanent impairment/disability; permanent scarring; and an




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increased likelihood of re-injury or aggravation to a preexisting condition in an amount to

be established at trial, but not less than $1,000,000.00.

       40.    As a further direct and proximate result of Defendants’ negligent acts,

omissions, and wrongful conduct, Plaintiff Ed Tillack asserts a claim for loss of

consortium, given the serious nature of Plaintiff Elanore Tillack’s injuries that had a

substantial impact on their marital relationship. Accordingly, Plaintiff Ed Tillack asserts

a claim for loss of consortium pursuant to Utah Code Ann. § 30-2-11, in an amount to

be established at trial, but not less than $250,000.00.

                                             VI.

                             SECOND CAUSE OF ACTION
                             Products Liability Negligence
                               (Against All Defendants)

       41.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 40 above.

       42.    Plaintiffs allege that Defendants were negligent in, among other things,

failing to properly invent; develop; manufacturer; assemble; package; design; instruct;

research; purchase; compound; inspect; test; label; warn of risk; represent; specify; and

assist in the installation, repair, replacement or provide future warranties and recall

notices in a timely manner for the 2006 Ford Lincoln Zephyr.

       43.    Plaintiffs further allege that Defendants were negligent in failing to properly

invent; develop; manufacturer; assemble; package; design; instruct; research;

purchase; compound; inspect; test; label; warn of risk; represent; specify; and assist in




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the installation, repair, or replacement of the following parts that Plaintiffs allege were

manufactured by Ford:

              A.     Front sensor of the 2006 Ford Lincoln Zephyr, part number

                     6E5Z14B004A;

              B.     Side impact sensor, part number 9E5Z14B345A, which replaced

                     6E5Z14B345-AA;

              C.     Diagnostic module part number 7E5Z14B321DD, module airbag,

                     and module 6H6Z54611D10AD;

              D.     Driver inflator, module part number 8HGZ54043B13AB; and

              E.     Left front side module airbag, 6H6Z54611D11AD.

       44.    Plaintiffs allege that Defendants manufactured, designed, and installed

defective airbags; airbag sensors; manufactured, designed, and installed defective

electrical parts; manufactured, designed, and installed defective wiring; and

manufactured, designed, and installed defective airbag modules, which caused the

Tillack 2006 Ford Lincoln Zephyr airbags not to deploy, causing serious injuries to

Elanore, resulting in special and general damages. Safer alternatives were available

and known to Defendants.

                                              V.

                               THIRD CAUSE OF ACTION
                           Strict Liability under Section 402
                         of the Restatement (Second) of Torts
                                (Against All Defendants)

       45.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 44 above.


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       46.    Plaintiffs allege that Defendants were strictly liable for the defective

design, manufacture, and installation of the airbags; airbag sensor; electrical parts;

wiring; airbag module; and airbag inflator of the 2006 Ford Lincoln Zephyr.

       47.    Plaintiffs allege that Defendants failed to properly invent; develop;

manufacturer; assemble; package; design; instruct; research; purchase; compound;

inspect; test; label; warn of risk; warn of recalls; represent; specify; and assist in the

installation, service or repair of Plaintiffs’ 2006 Ford Lincoln Zephyr.

       48.    Plaintiffs allege Defendants are strictly liable for the damage and injuries

sustained by Plaintiff Elanore Tillack, and both her special and general damages, set

forth hereinabove and incorporated by this reference.

       49.    Plaintiffs also allege that Defendants are strictly liable for Plaintiff Ed

Tillack’s loss of consortium claim, pursuant to Utah Code Ann. § 30-2-11.

       50.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was defective at the

time of its manufacturing; design; development; production; testing; inspection;

assembly; sale; installation; and distribution; and failed to warn the Tillacks for over

thirteen years of the ongoing problems with the airbags not deploying.

       51.    Plaintiffs allege Defendants knew the product was defective, and the user

would use this product and rely upon the airbags to deploy in the event of a motor

vehicle crash. The airbags failed to deploy on January 3, 2020.




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                                            VI.

                             FOURTH CAUSE OF ACTION
                                 Violation of Statute
                               (Against All Defendants)

      52.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 51 above.

      53.    Plaintiffs allege that at all material times, Defendants had an obligation not

to violate the law in the manufacturing; design; testing; production; assembly; research;

installation; and inspection of the airbag parts and airbag, before putting the 2006 Ford

Lincoln Zephyr in the string of commerce.

      54.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was unreasonably

dangerous in the way it was designed; the way it was manufactured; and Plaintiffs and

other users were never warned of the defective and unreasonably dangerous product.

Plaintiffs further allege that the design and manufacturing defect in the product made

the 2006 Ford Lincoln Zephyr unreasonably dangerous, and the defect was present at

the time it was manufactured; distributed; sold; and the design and manufacturing

defect caused Plaintiff’s injuries, in violation of Utah Code Ann. § 78B-6-701; 78B-6-

702; and 78B-6-203.

      55.    Plaintiff alleges that Defendants failed to comply with the various safety

regulations, statutes, and Utah Code Ann. § 70A-2-313, Express Warranties; § 70A-2-

314, Implied Warranties and Merchantability; and § 70A-2-315, Implied Warranty

Fitness for a Particular Purpose.




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        56.   As a direct and proximate result of Defendants’ violation of safety statutes,

regulations, and Utah Code, Plaintiff Elanore Tillack suffered injuries and special and

general damages set forth hereinabove and incorporated by this reference.

                                            VII.

                               FIFTH CAUSE OF ACTION
                                    Failure to Warn
                                (Against All Defendants)

        57.   Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 56 above.

        58.   Plaintiffs allege that Defendants failed to warn that they had not properly

manufactured, designed, installed, and assembled the various component parts,

including the airbag; the front sensor; side impact sensor; head sensor; diagnostic

module; module for the airbag; the driver inflator module in the 2006 Ford Lincoln

Zephyrs; wiring; and electrical parts.

        59.   Plaintiffs allege that Defendants knew or should have known of these

various defects, and had approximately thirteen years to warn Plaintiffs of these defects,

and failed to do so until sometime after Plaintiffs’ motor vehicle crash on January 3,

2020.

        60.   As a consequence of Defendants’ failure to warn, the 2006 Ford Lincoln

Zephyr was unreasonably dangerous and incapable of being made safe for the intended

and ordinary use. As a consequence, Plaintiff Elanore Tillack suffered injuries and

special and general damages as set forth hereinabove and incorporated by this

reference.



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                                           VIII.

                              SIXTH CAUSE OF ACTION
                             Breach of Express Warranty
                               (Against All Defendants)

      61.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 60 above.

      62.    Plaintiffs allege that Defendants expressly warranted that the 2006 Ford

Lincoln Zephyr was free from product defect and unreasonable dangerous condition,

and would operate as specified in its manual, advertisements, marketing, and

representations made by the various employees of Ford and various service centers

throughout Utah.

      63.    Plaintiffs allege that Defendants violated Utah Code Ann. § 70-2-313,

Express Warranties, that the front sensor; side impact sensor; head sensor; diagnostic

module; module airbag; driver inflator module; electrical parts; severed wiring; and

airbag module were free from defects, warranted to be in good working order, and

would perform as warrantied.

      64.    As a direct and proximate result of Defendants’ breach of its express

warranty, Plaintiff Elanore Tillack suffered injuries, and special and general damages

set forth hereinabove, and incorporated herein by this reference.




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                                             IX.

                           SEVENTH CAUSE OF ACTION
                Breach of Implied Warranty for a Particular Purpose
                                and Merchantability
                             (Against All Defendants)

       65.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 64 above.

       66.    Plaintiffs allege that Defendants warranted that the 2006 Ford Lincoln

Zephyr was, among other things, of merchantable quality, fit, safe, and in proper

condition for the ordinary use in which the 2006 Ford Lincoln Zephyr was designed,

manufactured, marketed, and demonstrated to perform.

       67.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was not of

merchantable quality; rather, it was unfit, unsafe, and unusable for the purpose

intended. The condition of the 2006 Ford Lincoln Zephyr did not perform for the

particular purpose it was designed and was a direct cause of Plaintiff Elanore Tillack’s

injuries and damaged claimed by Plaintiffs, and both special and general, incorporated

by this reference.

       68.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was not fit for its

particular use, it was also not of merchantable quality, in violation of Utah Code Ann.

§§ 7A-2-314 and 315.




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                                             X.

                              EIGHTH CAUSE OF ACTION
                              Negligent Misrepresentation
                                Against All Defendants

       69.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

through 68 above.

       70.    Plaintiffs allege that Defendants, and each of them, falsely represented to

Plaintiffs that the 2006 Ford Lincoln Zephyr was safe for use and operation on the

highways and bi-ways in the State of Utah.

       71.    Plaintiffs allege that the representations made by Defendants were, in fact,

false. The true facts were that the 2006 Ford Lincoln Zephyr had a design,

manufacturing and installation and product defect, was defective at the time, it left the

Ford manufacturing plant and it was in a unreasonably dangerous condition and had not

been corrected in response to the numerous complaints over the thirteen years

regarding the defective airbags; airbag sensors; defective electrical parts; defective

wiring; and defective airbag module.

       72.    Plaintiffs allege that given the force and the number of impacts to

Plaintiffs’ vehicle, the airbag should have deployed and minimized the extent of Plaintiff

Elanore Tillack’s injuries and damages sustained.

       WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

       1.     For past, present, and future special damages for Plaintiff Elanore Tillack,

including medical expenses; lost wages; impaired earning capacity; property damage;




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consequential damages; and other out-of-pocket expenses in an amount to be

established at trial.

       2.      For past, present, and future general damages for Plaintiff Elanore Tillack,

including physical pain and suffering; emotional pain and suffering; loss of enjoyment of

life; permanent impairment/disability; permanent scarring; and an increased likelihood of

re-injury or aggravation in an amount to be established at trial.

       3.      For loss of consortium for Plaintiff Ed Tillack, pursuant to Utah Code Ann.

§ 30-2-11, in an amount to be established at trial.

       4.      For prejudgment and post-judgment interest, costs of court, and such

other relief as the Court deems equitable.

       DATED this 30th day of December, 2021

                                   GEORGE T. WADDOUPS & ASSOCIATES


                                   /s/ George T. Waddoups___
                                   George T. Waddoups
                                   Attorney for Plaintiffs


PLAINTIFFS’ ADDRESS:
Elanore Tillack
Ed Tillack
P.O. Box 121
Manti, Utah 84642




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                                                                                                      Service of Process
                                                                                                      Transmittal
                                                                                                      03/21/2022
                                                                                                      CT Log Number 541264459
  TO:         Chuck Morici
              FORD MOTOR COMPANY
              1 American Rd
              Dearborn, MI 48126-2798

  RE:         Process Served in Utah

  FOR:        Ford Motor Company (Domestic State: DE)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                                  Re: Elanore Tillack and Ed Tillack // To: Ford Motor Company
  DOCUMENT(S) SERVED:                               Summons, Complaint
  COURT/AGENCY:                                     Sixth Judicial District Court, Sanpete County, Manti Department, UT
                                                    Case # 210600084
  NATURE OF ACTION:                                 Product Liability Litigation - Manufacturing Defect - 2006 Ford Lincoln Zephyr
  ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Midvale, UT
  DATE AND HOUR OF SERVICE:                         By Process Server on 03/21/2022 at 16:47
  JURISDICTION SERVED :                             Utah
  APPEARANCE OR ANSWER DUE:                         Within 21 days after service
  ATTORNEY(S) / SENDER(S):                          George T. Waddoups
                                                    George T. Waddoups & Associates PLLC
                                                    623 East Fort Union Boulevard
                                                    Suite 108
                                                    Midvale, UT 84047
                                                    801-212-9992
  ACTION ITEMS:                                     CT has retained the current log, Retain Date: 03/22/2022, Expected Purge Date:
                                                    03/27/2022

                                                    Image SOP

  REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                    1108 E. South Union Avenue
                                                    Midvale, UT 84047
                                                    877-564-7529
                                                    MajorAccountTeam2@wolterskluwer.com
  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
  relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
  of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
  advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
  therein.




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 Attorneys for Plaintiffs


                    I N THE SIXTH JUDICIAL DISTRICT COURT,

         IN AND FOR SANPETE COUNTY, MANTI, UTAH DEPARTMENT


 ELANORE TILLACK AND ED TILLACK,       SUMMONS

          Plaintiffs,

 V.

 FORD MOTOR COMPANY, a Delaware
 Corporation, dba LINCOLN MOTOR
 COMPANY; FORD MOTOR SERVICE
 COMPANY; BLUFF STREET AUTO
 BROKERS, LLC, Utah; TAKATA
 CORPORATION, aka TAKATA
 PROTECTION SYSTEMS INC. TKJP;
 TAKATA KYUSHU CORPORATION;
 TAKATA SERVICE CORPORATION,
 acquired in part by KEY SAFETY
 SYSTEMS(KSS)aka Joyson Safety         Civil Number 210600084
 Systems, Joyson Safety Systems
 Acquisitions, LLC; and JOHN DOE       Judge Wallace A. Lee
 CORPORATIONS 1-5,

          Defendants.


 THE STATE OF UTAH TO THE ABOVE-NAMED DEFENDANT:

                            FORD MOTOR-COMPANY
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                     c/o Registered Agent CT Corporation System

        You are hereby summoned and required to file an answer in writing to the

 attached Amended Complaint with the Clerk of the above-entitled Court, and to serve

 upon or mail to George T. Waddoups & Associates PLLC,623 East Fort Union

 Boulevard, Suite 108, Midvale, Utah 84047, Plaintiffs' attorney, a copy of said answer

 within twenty-one (21) days after service of this Summons upon you. If you fail to do so,

 judgment by default will be taken against you for the relief demanded in said Complaint,

 which has been filed with the Clerk of the Court, 160 North Main Street, P.O. Box 219,

 Manti, Utah 84642, and a copy of which is hereto annexed and herewith served upon

 you.

        DATED this 18th day of March, 2022.

                                   GEORGE T. WADDOUPS & ASSOCIATES PLLC

                                   /s/George T. Waddoups
                                   Attorney for Plaintiffs


 Serve Defendant at:

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 Midvale, Utah 84047




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                    I N THE SIXTH JUDICIAL DISTRICT COURT,

         IN AND FOR SANPETE COUNTY, MANTI, UTAH DEPARTMENT


 ELANORE TILLACK AND ED TILLACK,           AMENDED COMPLAINT TIER III
                                           (More than $300,000.00)
          Plaintiffs,

 v.

 FORD MOTOR COMPANY, a Delaware
 Corporation, dba LINCOLN MOTOR
 COMPANY; FORD MOTOR SERVICE
 COMPANY; BLUFF STREET AUTO
 BROKERS, LLC, Utah; TAKATA
 CORPORATION, aka TAKATA
 PROTECTION SYSTEMS INC. TKJP;
 TAKATA KYUSHU CORPORATION;
 TAKATA SERVICE CORPORATION,
 acquired in part by KEY SAFETY
 SYSTEMS(KSS)aka Joyson Safety
 Systems, Joyson Safety Systems
 Acquisitions, LLC; and JOHN DOE
 CORPORATIONS 1-5,                         Civil Number 210600084

          Defendants.                      Judge Wallace A. Lee


      Plaintiffs complain of Defendants as follows:
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                        PARTIES, JURISDICTION, AND VENUE

        1.    At all material times herein, Plaintiffs were residents of Sanpete County,

 State of Utah. Plaintiffs purchased the Lincoln Zephyr from Bluff Street Auto Brokers

(hereafter "Auto Brokers" or "Defendant.") Auto Brokers was in the business of selling

 and servicing automobiles in Southern Utah, including St. George.

       2.     At all material times herein, Defendant Ford Motor Company, a Delaware

 Corporation, doing business as Lincoln Motor Company, was authorized to sale and

 service Ford and Lincoln Motor vehicles throughout the State of Utah, and serviced the

 area of Sanpete County.

       3.     At all material times herein, Ford Motor Service Company was authorized

 to transact business in the State of Utah, and was doing so in maintaining and servicing

 Ford and Lincoln Motor vehicles throughout the State of Utah, including Sanpete

 County. Ford Motor Company, a Delaware Corporation, doing business as Lincoln

 Motor Company, and Ford Motor Service Company are hereafter collectively referred to

 as "Ford" or "Defendants."

       4.     Defendants Takata Corporation, also known as Takata Protection

 Systems Inc.; Takata Kyushu Corporation; Takata Service Corporation, acquired in part

 by Key Safety Systems(KSS)aka Joyson Safety Systems, aka Joyson Safety

 Systems Acquisitions, LLC, collectively referred to as Takata, Ford, and/or

 Defendants, and John Doe Corporations 1-5 are other corporations of contractors;

 manufacturers; parts manufacturers; assemblers; installers of parts; sensors; and



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 electrical circuits that are not manufactured by Ford. The names and identities of these

 companies will be added to the Complaint once their identities are known to Plaintiffs.

 Takata is collectively referred to in this Complaint under "Ford" or "Defendants." Takata

 is authorized to provide airbags, component parts, and safety features found in Ford

 Lincoln vehicles, including the 2006 Lincoln Zephyr.

       5.      This cause of action arose in Sanpete County, Manti, Utah, on January 3,

 2020, when Plaintiff Elanore Tillack was involved in a serious car accident, where the

 airbags failed to deploy, thereby conferring jurisdiction and venue upon this Court.



                                   STATEMENT OF FACTS

       6.      Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 5 above.

       7.      Ford has been in the business of manufacturing, selling, and servicing

 automobiles for over a century.

       8.      In 2006, Ford manufactured the Lincoln Zephyr.

       9.      In 2007, Plaintiffs purchased the 2006 Ford Lincoln Zephyr from

 Defendant Bluff Street Auto Brokers.

        10.    Plaintiffs maintained the 2006 Ford Lincoln Zephyr as required throughout

 their years of their ownership.

        1 1.   Unbeknownst to Plaintiffs, Ford and airbag manufacturer Takata, had

 been engaged in receiving complaints about airbags that did not deploy or exploded

 upon deployment, causing serious injuries.



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        12.    Unbeknownst to Plaintiffs, as these complaints continued to be reported,

 Ford took no action to remedy the situation.

        13.    Eventually, approximately, 67 million airbags in 42 million vehicles were

 recalled in one of the largest recall efforts in United States history.

        14.    Plaintiffs lived in a small community in Manti, Utah, and continued about

 their normal affairs over the next thirteen (13) years after purchasing their 2006 Ford

 Lincoln Zephyr.

        15.    On January 3, 2020, Plaintiff was driving her 2006 Ford Lincoln Zephyr to

 the temple in Manti.

        16.    Elanore Tillack was driving the vehicle with her grandson, Trey, in the

 passenger side of the back seat.

        17.    Plaintiff drove east from her home, which was located on Keller Road, to

 the intersection with U.S. 89.

        18.    The southbound side of U.S. 89 has a left turn lane to turn onto Keller

 Road, and two lanes for southbound traffic.

        19.    As Plaintiff attempted to make a right-hand-turn into lane 2, a vehicle

 struck Plaintiffs driver's side quarter panel, traveling at approximately 70 m.p.h.

        20.    The crash was so significant that it spun the Tillack vehicle around, which

 was struck by another vehicle.

        21.    Emergency personnel were summoned to the scene.

        22.    Plaintiff Elanore Tillack sustained serious injuries and was flown to Utah

 Valley Hospital in Utah County.



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        23.     Plaintiff Elanore Tillack sustained serious injuries to her head; brain injury;

 fractured clavicle; sternum fracture; left rib fracture; right rib fracture; collapsed lung;

 right radial wrist fracture; right sacral fracture; pubic rami fracture; left tibial fracture;

 hips; and soft tissue injuries to her body.

        24.     Plaintiff spent substantial time rehabilitating from her injuries.

        25.     At some point later in January of 2020, Plaintiff received a recall notice

 regarding an urgent safety recall.

        26.     Once Plaintiff Elanore Tillack was well enough to look at the mail, she

 discovered that she had received an urgent airbag recall on the 2006 Ford Lincoln

 Zephyr that she was involved in with the crash. It was the latter part of January when

 she discovered the urgent airbag recall.

        27.     Prior to this particular airbag recall received in 2020, the Tillacks do not

 recall receiving any other notice or complication regarding the airbags in the 2006 Ford

 Lincoln Zephyr.

        28.     After Plaintiff Elanore Tillack was well enough to go through the mail and

 observe the recall, they did an investigation to determine, by vin number, if their

 particular vehicle was part of the recall. Upon checking the yin number of their 2006

 Ford Lincoln Zephyr, it was, in fact, part of this largest airbag recall in U.S. history.

        29.     Plaintiffs allege that Ford manufactured the airbag sensors; airbag

 modules; electrical parts; and wiring.

        30.     Plaintiffs allege that Ford chose what sensors; electrical parts; wiring;

 modules; and Takata parts to install, assemble, manufacture the airbag and its



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 components and implied, expressed, represented, and warranted the Zephyr and its

 safety components, including the above and the Takata airbag.

        31.     Plaintiffs allege that Ford knew there were safer components and airbags

 available in 2006, free from design and manufacturing defects, but chose to

 manufacture and install said sensors; modules; wiring; electrical parts; and Takata

 airbags that were defective in design or manufacture.

        32.     Plaintiffs relied on Ford's and Defendants' representations, warranties,

 and guarantees, expressed and implied, that the 2006 Ford Lincoln Zephyr would

 perform as Plaintiffs use in their ordinary driving, and that the safety features, including

 the airbags and component parts, are fit for the ordinary purpose and would engage to

 protect Plaintiffs.

        33.     Over the next thirteen years, Ford/Defendants received numerous

 complaints and warnings, and possessed knowledge that the airbags and components

 were defectively designed and manufactured, and could not protect Plaintiffs. Ford

 failed to notify Plaintiffs of the recall until sometime after Elanore was injured.



                                 FIRST CAUSE OF ACTION
                                        Negligence
                                 (Against All Defendants)

        34.     Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 33 above.

        35.     After the Tillacks determined that they had received this urgent recall and

 discovered this recall in the latter part of January 2020, a vehicle inspection was



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 eventually set up with Ford's attorney. Upon inspecting the vehicle, it was Plaintiff's

 position that she was hit with such force in two (2) different impacts, that the airbags

 should have deployed, which would have minimized her injuries.

        36.    Plaintiffs allege that Defendants had a duty to make sure that the 2006

 Ford Lincoln Zephyr was safe when it left the Ford manufacturing plant, and all of the

 components, including the sensors to the airbags; wiring; electrical circuits; air bag

 modules; diagnostic modules; and air bag inflator were properly manufactured,

 designed, and installed.

        37.    Plaintiffs allege that Defendants breached their duty and were negligent in

 making sure the 2006 Ford Lincoln Zephyr was safe for Plaintiffs to operate. On

 January 3, 2020, Plaintiffs' vehicle was violently struck by two vehicles and none of the

 airbags deployed, resulting in more serious injuries to Elanore.

        38.    As a direct and proximate result of Defendants' negligent acts, omissions,

 and wrongful conduct, Plaintiff sustained injuries outlined above and incurred past,

 present, and future medical expenses in an amount not less than $245,000.00; out-of-

 pocket expenses; and consequential damages in an amount to be established at trial,

 but not less than $300,000.00.

        39.    As a further direct and proximate result of Defendants' negligent acts,

 omissions, and wrongful conduct, Plaintiffs sustained past, present, and future general

 damages, including physical pain and suffering; emotional pain and suffering; loss of

 enjoyment of life; permanent impairment/disability; permanent scarring; and an




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 increased likelihood of re-injury or aggravation to a preexisting condition in an amount to

 be established at trial, but not less than $1,000,000.00.

       40.     As a further direct and proximate result of Defendants' negligent acts,

 omissions, and wrongful conduct, Plaintiff Ed Tillack asserts a claim for loss of

 consortium, given the serious nature of Plaintiff Elanore Tillack's injuries that had a

 substantial impact on their marital relationship. Accordingly, Plaintiff Ed Tillack asserts

 a claim for loss of consortium pursuant to Utah Code Ann.§ 30-2-11, in an amount to

 be established at trial, but not less than $250,000.00.

                                              VI.

                              SECOND CAUSE OF ACTION
                              Products Liability Negligence
                               (Against All Defendants)

        41.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 40 above.

        42.    Plaintiffs allege that Defendants were negligent in, among other things,

 failing to properly invent; develop; manufacturer; assemble; package; design; instruct;

 research; purchase; compound; inspect; test; label; warn of risk; represent; specify; and

 assist in the installation, repair, replacement or provide future warranties and recall

 notices in a timely manner for the 2006 Ford Lincoln Zephyr.

        43.    Plaintiffs further allege that Defendants were negligent in failing to properly

 invent; develop; manufacturer; assemble; package; design; instruct; research;

 purchase; compound; inspect; test; label; warn of risk; represent; specify; and assist in




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 the installation, repair, or replacement of the following parts that Plaintiffs allege were

 manufactured by Ford:

               A.      Front sensor of the 2006 Ford Lincoln Zephyr, part number

                      6E5Z146004A;

               B.     Side impact sensor, part number 9E5Z146345A, which replaced

                      6E5Z1413345-AA;

               C.      Diagnostic module part number 7E5Z14B321D0, module airbag,

                      and module 6H6Z54611D10AD;

               D.      Driver inflator, module part number 8HGZ54043B13AB; and

          •    E.      Left front side module airbag, 6H6Z54611D11AD.

        44.    Plaintiffs allege that Defendants manufactured, designed, and installed

 defective airbags; airbag sensors; manufactured, designed, and installed defective

 electrical parts; manufactured, designed, and installed defective wiring; and

 manufactured, designed, and installed defective airbag modules, which caused the

 Tillack 2006 Ford Lincoln Zephyr airbags not to deploy, causing serious injuries to

 Elanore, resulting in special and general damages. Safer alternatives were available

 and known to Defendants.

                                               V.

                                THIRD CAUSE OF ACTION
                             Strict Liability under Section 402
                           of the Restatement(Second)of Torts
                                 (Against All Defendants)

        45.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 44 above.


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        46.    Plaintiffs allege that Defendants were strictly liable for the defective

 design, manufacture, and installation of the airbags; airbag sensor; electrical parts;

 wiring; airbag module; and airbag inflator of the 2006 Ford Lincoln Zephyr.

        47.    Plaintiffs allege that Defendants failed to properly invent; develop;

 manufacturer; assemble; package; design; instruct; research; purchase; compound;

 inspect; test; label; warn of risk; warn of recalls; represent; specify; and assist in the

 installation, service or repair of Plaintiffs' 2006 Ford Lincoln Zephyr.

        48.    Plaintiffs allege Defendants are strictly liable for the damage and injuries

 sustained by Plaintiff Elanore Tillack, and both her special and general damages, set

 forth hereinabove and incorporated by this reference.

        49.    Plaintiffs also allege that Defendants are strictly liable for Plaintiff Ed

 Tillack's loss of consortium claim, pursuant to Utah Code Ann.§ 30-2-11.

        50.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was defective at the

 time of its manufacturing; design; development; production; testing; inspection;

 assembly; sale; installation; and distribution; and failed to warn the Tillacks for over

 thirteen years of the ongoing problems with the airbags not deploying.

        51.    Plaintiffs allege Defendants knew the product was defective, and the user

 would use this product and rely upon the airbags to deploy in the event of a motor

 vehicle crash. The airbags failed to deploy on January 3, 2020.




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                                             VI.

                              FOURTH CAUSE OF ACTION
                                 Violation of Statute
                               (Against All Defendants)

       52.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 51 above.

       53.    Plaintiffs allege that at all material times, Defendants had an obligation not

 to violate the law in the manufacturing; design; testing; production; assembly; research;

 installation; and inspection of the airbag parts and airbag, before putting the 2006 Ford

 Lincoln Zephyr in the string of commerce.

       54.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was unreasonably

 dangerous in the way it was designed; the way it was manufactured; and Plaintiffs and

 other users were never warned of the defective and unreasonably dangerous product.

 Plaintiffs further allege that the design and-manufacturing defect in the product made

 the 2006 Ford Lincoln Zephyr unreasonably dangerous, and the defect was present at

 the time it was manufactured; distributed; sold; and the design and manufacturing

 defect caused Plaintiff's injuries, in violation of Utah Code Ann.§ 78B-6-701; 78B-6-

 702; and 78B-6-203.

       55.    Plaintiff alleges that Defendants failed to comply with the various safety

 regulations, statutes, and Utah Code Ann.§ 70A-2-313, Express Warranties; § 70A-2-

 314, Implied Warranties and Merchantability; and § 70A-2-315, Implied Warranty

 Fitness for a Particular Purpose.




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         56.   As a direct and proximate result of Defendants' violation of safety statutes,

 regulations, and Utah Code, Plaintiff Elanore Tillack suffered injuries and special and

 general damages set forth hereinabove and incorporated by this reference.

                                             VII.

                                FIFTH CAUSE OF ACTION
                                     Failure to Warn
                                (Against All Defendants}

         57.   Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 56 above.

         58.   Plaintiffs allege that Defendants failed to warn that they had not properly

 manufactured, designed, installed, and assembled the various component parts,

 including the airbag; the front sensor; side impact sensor; head sensor; diagnostic

 module; module for the airbag; the driver inflator module in the 2006 Ford Lincoln

 Zephyrs; wiring; and electrical parts.

         59.   Plaintiffs allege that Defendants knew or should have known of these

 various defects, and had approximately thirteen years to warn Plaintiffs of these defects,

 and failed to do so until sometime after Plaintiffs' motor vehicle crash on January 3,

 2020.

         60.   As a consequence of Defendants' failure to warn, the 2006 Ford Lincoln

 Zephyr was unreasonably dangerous and incapable of being made safe for the intended

 and ordinary use. As a consequence, Plaintiff Elanore Tillack suffered injuries and

 special and general damages as set forth hereinabove and incorporated by this

 reference.



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                                            VIII.

                               SIXTH CAUSE OF ACTION
                              Breach of Express Warranty
                               (Against All Defendants)

       61.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 60 above.

       62.    Plaintiffs allege that Defendants expressly warranted that the 2006 Ford

 Lincoln Zephyr was free from product defect and unreasonable dangerous condition,

 and would operate as specified in its manual, advertisements, marketing, and

 representations made by the various employees of Ford and various service centers

 throughout Utah.

       63.    Plaintiffs allege that Defendants violated Utah Code Ann.§ 70-2-313,

 Express Warranties; that the front sensor; side impact sensor; head sensor; diagnostic

 module; module airbag; driver inflator module; electrical parts; severed wiring; and

 airbag module were free from defects, warranted to be in good working order, and

 would perform as warrantied.

       64.    As a direct and proximate result of Defendants' breach of its express

 warranty, Plaintiff Elanore Tillack suffered injuries, and special and general damages

 set forth hereinabove, and incorporated herein by this reference.




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                                             IX.

                           SEVENTH CAUSE OF ACTION
                 Breach of Implied Warranty for a Particular Purpose
                                 and Merchantability
                              (Against All Defendants)

       65.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 64 above.

       66.    Plaintiffs allege that Defendants warranted that the 2006 Ford Lincoln

 Zephyr was, among other things, of merchantable quality, fit, safe, and in proper

 condition for the ordinary use in which the 2006 Ford Lincoln Zephyr was designed,

 manufactured, marketed, and demonstrated to perform.

       67.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was not of

 merchantable quality; rather, it was unfit, unsafe, and unusable for the purpose

 intended. The condition of the 2006 Ford Lincoln Zephyr did not perform for the

 particular purpose it was designed and was a direct cause of Plaintiff Elanore Tillack's

 injuries and damaged claimed by Plaintiffs, and both special and general, incorporated

 by this reference.

       68.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was not fit for its

 particular use, it was also not of merchantable quality, in violation of Utah Code Ann.

 §§ 7A-2-314 and 315.




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                                              X.

                               EIGHTH CAUSE OF ACTION
                               Negligent Misrepresentation
                                 Against All Defendants

       69.     Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 68 above.

       70.     Plaintiffs allege that Defendants, and each of them, falsely represented to

 Plaintiffs that the 2006 Ford Lincoln Zephyr was safe for use and operation on the

 highways and bi-ways in the State of Utah.

       71.     Plaintiffs allege that the representations made by Defendants were, in fact,

 false. The true facts were that the 2006 Ford Lincoln Zephyr had a design,

 manufacturing and installation and product defect, was defective at the time, it left the

 Ford manufacturing plant and it was in a unreasonably dangerous condition and had not

 been corrected in response to the numerous complaints over the thirteen years

 regarding the defective airbags; airbag sensors; defective electrical parts; defective

 wiring; and defective airbag module.

       72.     Plaintiffs allege that given the force and the number of impacts to

 Plaintiffs' vehicle, the airbag should have deployed and minimized the extent of Plaintiff

 Elanore Tillack's injuries and damages sustained.

        WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

        1.     For past, present, and future special damages for Plaintiff Elanore Tillack,

 including medical expenses; lost wages; impaired earning capacity; property damage;




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 consequential damages; and other out-of-pocket expenses in an amount to be

 established at trial.

        2.      For past, present, and future general damages for Plaintiff Elanore Tillack,

 including physical pain and suffering; emotional pain and suffering; loss of enjoyment of

 life; permanent impairment/disability; permanent scarring; and an increased likelihood of

 re-injury or aggravation in an amount to be established at trial.

        3.      For loss of consortium for Plaintiff Ed Tillack, pursuant to Utah Code Ann.

§ 30-2-11, in an amount to be established at trial.

        4.      For prejudgment and post-judgment interest, costs of court, and such

 other relief as the Court deems equitable.

        DATED this 15th day of March, 2022.

                                    GEORGE T. WADDOUPS & ASSOCIATES


                                    /s/ George T. Waddoups
                                    George T. Waddoups
                                    Attorney for Plaintiffs

 PLAINTIFFS' ADDRESS:
 Elanore Tillack
 Ed Tillack
 P.O. Box 121
 Manti, Utah 84642




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                                                                                                      Service of Process
                                                                                                      Transmittal
                                                                                                      03/21/2022
                                                                                                      CT Log Number 541270742
  TO:         Chuck Morici
              FORD MOTOR COMPANY
              1 American Rd
              Dearborn, MI 48126-2798

  RE:         Process Served in Utah

  FOR:        Lincoln Motor Company (Assumed Name) (Domestic State: DE)
              Ford Motor Company (True Name)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                                  Re: Elanore Tillack and Ed Tillack // To: Ford Motor Company
  DOCUMENT(S) SERVED:                               Summons, Complaint
  COURT/AGENCY:                                     Sixth Judicial District Court, Sanpete County, Manti Department, UT
                                                    Case # 210600084
  NATURE OF ACTION:                                 Product Liability Litigation - Manufacturing Defect - 2006 Ford Lincoln Zephyr
  ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Midvale, UT
  DATE AND HOUR OF SERVICE:                         By Process Server on 03/21/2022 at 16:47
  JURISDICTION SERVED :                             Utah
  APPEARANCE OR ANSWER DUE:                         Within 21 days after service
  ATTORNEY(S) / SENDER(S):                          George T. Waddoups
                                                    George T. Waddoups & Associates PLLC
                                                    623 East Fort Union Boulevard
                                                    Suite 108
                                                    Midvale, UT 84047
                                                    801-212-9992
  ACTION ITEMS:                                     CT has retained the current log, Retain Date: 03/22/2022, Expected Purge Date:
                                                    03/27/2022

                                                    Image SOP

  REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                    1108 E. South Union Avenue
                                                    Midvale, UT 84047
                                                    877-564-7529
                                                    MajorAccountTeam2@wolterskluwer.com
  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
  relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
  of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
  advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
  therein.




                                                                                                      Page 1 of 1 / GP
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 George T. Waddoups,#3965
 Geri C. Kelley, #8800
 GEORGE T. WADDOUPS & ASSOCIATES PLLC
 623 East Fort Union Boulevard, Suite 108 SERVBi
 Midvale, Utah 84047
 Telephone:(801) 212-9992
 Facsimile (801) 212-9211
                                          DATE%
                                          BY: 1-
                                                                "
 qeoroewaddoupslaw.com
 geri@waddoupslaw.com
 Attorneys for Plaintiffs


                    I N THE SIXTH JUDICIAL DISTRICT COURT,

         IN AND FOR SANPETE COUNTY, MANTI, UTAH DEPARTMENT


 ELANORE TILLACK AND ED TILLACK,       SUMMONS

          Plaintiffs,

 v.

 FORD MOTOR COMPANY, a Delaware
 Corporation, dba LINCOLN MOTOR
 COMPANY; FORD MOTOR SERVICE
 COMPANY; BLUFF STREET AUTO
 BROKERS, LLC, Utah; TAKATA
 CORPORATION, aka TAKATA
 PROTECTION SYSTEMS INC. TKJP;
 TAKATA KYUSHU CORPORATION;
 TAKATA SERVICE CORPORATION,
 acquired in part by KEY SAFETY
 SYSTEMS(KSS)aka Joyson Safety         Civil Number 210600084
 Systems, Joyson Safety Systems
 Acquisitions, LLC; and JOHN DOE       Judge Wallace A. Lee
 CORPORATIONS 1-5,

          Defendants.


 THE STATE OF UTAH TO THE ABOVE-NAMED DEFENDANT:

                          LINCOLN MOTOR- COMPANY
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                     c/o Registered Agent CT Corporation System

        You are hereby summoned and required to file an answer in writing to the

 attached Amended Complaint with the Clerk of the above-entitled Court, and to serve

 upon or mail to George T. Waddoups & Associates PLLC, 623 East Fort Union

 Boulevard, Suite 108, Midvale, Utah 84047, Plaintiffs' attorney, a copy of said answer

 within twenty-one (21)days after service of this Summons upon you. If you fail to do so,

 judgment by default will be taken against you for the relief demanded in said Complaint,

 which has been filed with the Clerk of the Court, 160 North Main Street, P.O. Box 219,

 Manti, Utah 84642, and a copy of which is hereto annexed and herewith served upon

 you.

        DATED this 18th day of March, 2022.

                                   GEORGE T. WADDOUPS & ASSOCIATES PLLC

                                   /s/George T. Waddoups
                                   Attorney for Plaintiffs


 Serve Defendant at:

 1 108 East South Union Avenue
 Midvale, Utah 84047




                                            2
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michellepwaddoupslaw.com
Attorneys for Plaintiffs


                    I N THE SIXTH JUDICIAL DISTRICT COURT,

         IN AND FOR SANPETE COUNTY, MANTI, UTAH DEPARTMENT


 ELANORE TILLACK AND ED TILLACK,           AMENDED COMPLAINT TIER III
                                           (More than $300,000.00)
          Plaintiffs,

 V.

 FORD MOTOR COMPANY, a Delaware
 Corporation, dba LINCOLN MOTOR
 COMPANY; FORD MOTOR SERVICE
 COMPANY; BLUFF STREET AUTO
 BROKERS, LLC, Utah; TAKATA
 CORPORATION, aka TAKATA
 PROTECTION SYSTEMS INC. TKJP;
 TAKATA KYUSHU CORPORATION;
 TAKATA SERVICE CORPORATION,
 acquired in part by KEY SAFETY
 SYSTEMS(KSS)aka Joyson Safety
 Systems, Joyson Safety Systems
 Acquisitions, LLC; and JOHN DOE
 CORPORATIONS 1-5,                         Civil Number 210600084

          Defendants.                      Judge Wallace A. Lee


      Plaintiffs complain of Defendants as follows:
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                        PARTIES, JURISDICTION, AND VENUE

       1.     At all material times herein, Plaintiffs were residents of Sanpete County,

 State of Utah. Plaintiffs purchased the Lincoln Zephyr from Bluff Street Auto Brokers

(hereafter "Auto Brokers" or "Defendant.") Auto Brokers was in the business of selling

 and servicing automobiles in Southern Utah, including St. George.

       2.     At all material times herein, Defendant Ford Motor Company, a Delaware

 Corporation, doing business as Lincoln Motor Company, was authorized to sale and

 service Ford and Lincoln Motor vehicles throughout the State of Utah, and serviced the

 area of Sanpete County.

       3.     At all material times herein, Ford Motor Service Company was authorized

 to transact business in the State of Utah, and was doing so in maintaining and servicing

 Ford and Lincoln Motor vehicles throughout the State of Utah, including Sanpete

 County. Ford Motor Company, a Delaware Corporation, doing business as Lincoln

 Motor Company, and Ford Motor Service Company are hereafter collectively referred to

 as "Ford" or "Defendants."

       4.     Defendants Takata Corporation, also known as Takata Protection

 Systems Inc.; Takata Kyushu Corporation; Takata Service Corporation, acquired in part

 by Key Safety Systems(KSS)aka Joyson Safety Systems, aka Joyson Safety

 Systems Acquisitions, LLC, collectively referred to as Takata, Ford, and/or

 Defendants, and John Doe Corporations 1-5 are other corporations of contractors;

 manufacturers;
     _         _ parts manufacturers; assemblers; installers of parts; sensors; and



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 electrical circuits that are not manufactured by Ford. The names and identities of these

 companies will be added to the Complaint once their identities are known to Plaintiffs.

 Takata is collectively referred to in this Complaint under "Ford" or "Defendants." Takata

 is authorized to provide airbags, component parts, and safety features found in Ford

 Lincoln vehicles, including the 2006 Lincoln Zephyr.

       5.      This cause of action arose in Sanpete County, Manti, Utah, on January 3,

 2020, when Plaintiff Elanore Tillack was involved in a serious car accident, where the

 airbags failed to deploy, thereby conferring jurisdiction and venue upon this Court.



                                   STATEMENT OF FACTS

       6.      Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 5 above.

       7.      Ford has been in the business of manufacturing, selling, and servicing

 automobiles for over a century.

       8.      In 2006, Ford manufactured the Lincoln Zephyr.

       9.      In 2007, Plaintiffs purchased the 2006 Ford Lincoln Zephyr from

 Defendant Bluff Street Auto Brokers.

        10.    Plaintiffs maintained the 2006 Ford Lincoln Zephyr as required throughout

 their years of their ownership.

        1 1.   Unbeknownst to Plaintiffs, Ford and airbag manufacturer Takata, had

 been engaged in receiving complaints about airbags that did not deploy or exploded

 upon deployment, causing serious injuries.



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        12.    Unbeknownst to Plaintiffs, as these complaints continued to be reported,

 Ford took no action to remedy the situation.

        13.    Eventually, approximately, 67 million airbags in 42 million vehicles were

 recalled in one of the largest recall efforts in United States history.

        14.    Plaintiffs lived in a small community in Manti, Utah, and continued about

 their normal affairs over the next thirteen (13) years after purchasing their 2006 Ford

 Lincoln Zephyr.

        15.    On January 3, 2020, Plaintiff was driving her 2006 Ford Lincoln Zephyr to

 the temple in Manti.

        16.    Elanore Tillack was driving the vehicle with her grandson, Trey, in the

 passenger side of the back seat.

        17.    Plaintiff drove east from her home, which was located on Keller Road, to

 the intersection with U.S. 89.

        18.    The southbound side of U.S. 89 has a left turn lane to turn onto Keller

 Road, and two lanes for southbound traffic.

        19.    As Plaintiff attempted to make a right-hand-turn into lane 2, a vehicle

 struck Plaintiffs driver's side quarter panel, traveling at approximately 70 m.p.h.

        20.    The crash was so significant that it spun the Tillack vehicle around, which

 was struck by another vehicle.

        21.    Emergency personnel were summoned to the scene.

        22.    Plaintiff Elanore Tillack sustained serious injuries and was flown to Utah

 Valley Hospital in Utah County.



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        23.     Plaintiff Elanore Tillack sustained serious injuries to her head; brain injury;

 fractured clavicle; sternum fracture; left rib fracture; right rib fracture; collapsed lung;

 right radial wrist fracture; right sacral fracture; pubic rami fracture; left tibial fracture;

 hips; and soft tissue injuries to her body.

        24.     Plaintiff spent substantial time rehabilitating from her injuries.

        25.     At some point later in January of 2020, Plaintiff received a recall notice

 regarding an urgent safety recall.

        26.     Once Plaintiff Elanore Tillack was well enough to look at the mail, she

 discovered that she had received an urgent airbag recall on the 2006 Ford Lincoln

 Zephyr that she was involved in with the crash. It was the latter part of January when

 she discovered the urgent airbag recall.

        27.     Prior to this particular airbag recall received in 2020, the Tillacks do not

 recall receiving any other notice or complication regarding the airbags in the 2006 Ford

 Lincoln Zephyr.

        28.     After Plaintiff Elanore Tillack was well enough to go through the mail and

 observe the recall, they did an investigation to determine, by vin number, if their

 particular vehicle was part of the recall. Upon checking the yin number of their 2006

 Ford Lincoln Zephyr, it was, in fact, part of this largest airbag recall in U.S. history.

        29.     Plaintiffs allege that Ford manufactured the airbag sensors; airbag

 modules; electrical parts; and wiring.

        30.     Plaintiffs allege that Ford chose what sensors; electrical parts; wiring;

_ modules; and Takata parts to install, assemble, manufacture the airbag and its



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 components and implied, expressed, represented, and warranted the Zephyr and its

 safety components, including the above and the Takata airbag.

        31.     Plaintiffs allege that Ford knew there were safer components and airbags

 available in 2006, free from design and manufacturing defects, but chose to

'manufacture and install said sensors; modules; wiring; electrical parts; and Takata

 airbags that were defective in design or manufacture.

        32.     Plaintiffs relied on Ford's and Defendants' representations, warranties,

 and guarantees, expressed and implied, that the 2006 Ford Lincoln Zephyr would

 perform as Plaintiffs use in their ordinary driving, and that the safety features, including

 the airbags and component parts, are fit for the ordinary purpose and would engage to

 protect Plaintiffs.

        33.     Over the next thirteen years, Ford/Defendants received numerous

 complaints and warnings, and possessed knowledge that the airbags and components

 were defectively designed and manufactured, and could not protect Plaintiffs. Ford

 failed to notify Plaintiffs of the recall until sometime after Elanore was injured.



                                 FIRST CAUSE OF ACTION
                                        Negligence
                                 (Against All Defendants)

        34.     Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 33 above.

        35.     After the Tillacks determined that they had received this urgent recall and

 discovered thisfecall in the latter part of January 2020, a vehicle inspection was
                                                                   - —


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 eventually set up with Ford's attorney. Upon inspecting the vehicle, it was Plaintiff's

 position that she was hit with such force in two (2) different impacts, that the airbags

 should have deployed, which would have minimized her injuries.

       36.     Plaintiffs allege that Defendants had a duty to make sure that the 2006

 Ford Lincoln Zephyr was safe when it left the Ford manufacturing plant, and all of the

 components, including the sensors to the airbags; wiring; electrical circuits; air bag

 modules; diagnostic modules; and air bag inflator were properly manufactured,

 designed, and installed.

        37.    Plaintiffs allege that Defendants breached their duty and were negligent in

 making sure the 2006 Ford Lincoln Zephyr was safe for Plaintiffs to operate. On

 January 3, 2020, Plaintiffs' vehicle was violently struck by two vehicles and none of the

 airbags deployed, resulting in more serious injuries to Elanore.

        38.    As a direct and proximate result of Defendants' negligent acts, omissions,

 and wrongful conduct, Plaintiff sustained injuries outlined above and incurred past,

 present, and future medical expenses in an amount not less than $245,000.00; out-of-

 pocket expenses; and consequential damages in an amount to be established at trial,

 but not less than $300,000.00.

        39.    As a further direct and proximate result of Defendants' negligent acts,

 omissions, and wrongful conduct, Plaintiffs sustained past, present, and future general

 damages, including physical pain and suffering; emotional pain and suffering; loss of

 enjoyment of life; permanent impairment/disability; permanent scarring; and an




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 increased likelihood of re-injury or aggravation to a preexisting condition in an amount to

 be established at trial, but not less than $1,000,000.00.

       40.        As a further direct and proximate result of Defendants' negligent acts,

 omissions, and wrongful conduct, Plaintiff Ed Tillack asserts a claim for loss of

 consortium, given the serious nature of Plaintiff Elanore Tillack's injuries that had a

 substantial impact on their marital relationship. Accordingly, Plaintiff Ed Tillack asserts

 a claim for loss of consortium pursuant to Utah Code Ann. § 30-2-11, in an amount to

 be established at trial, but not less than $250,000.00.

                                                VI.

                                 SECOND CAUSE OF ACTION
                                 Products Liability Negligence
                                  (Against All Defendants)

        41.       Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 40 above.

        42.       Plaintiffs allege that Defendants were negligent in, among other things,

 failing to properly invent; develop; manufacturer; assemble; package; design; instruct;

 research; purchase; compound; inspect; test; label; warn of risk; represent; specify; and

 assist in the installation, repair, replacement or provide future warranties and recall

 notices in a timely manner for the 2006 Ford Lincoln Zephyr.

        43.       Plaintiffs further allege that Defendants were negligent in failing to properly

 invent; develop; manufacturer; assemble; package; design; instruct; research;

 purchase; compound; inspect; test; label; warn of risk; represent; specify; and assist in

       -      _
                                                                     _                - -


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 the installation, repair, or replacement of the following parts that Plaintiffs allege were

 manufactured by Ford:

               A.     Front sensor of the 2006 Ford Lincoln Zephyr, part number

                      6E5Z146004A;

               B.     Side impact sensor, part number 9E5Z14B345A, which replaced

                      6E5Z1413345-AA;

               C.     Diagnostic module part number 7E5Z14B321DD, module airbag,

                      and module 6H6Z54611D10AD;

               D.      Driver inflator, module part number 8HGZ54043B13AB; and

               E.      Left front side module airbag, 6H6Z54611D11AD.

        44.    Plaintiffs allege that Defendants manufactured, designed, and installed

 defective airbags; airbag sensors; manufactured, designed, and installed defective

 electrical parts; manufactured, designed, and installed defective wiring; and

 manufactured, designed, and installed defective airbag modules, which caused the

 Tillack 2006 Ford Lincoln Zephyr airbags not to deploy, causing serious injuries to

 Elanore, resulting in special and general damages. Safer alternatives were available

 and known to Defendants.

                                               V.

                                THIRD CAUSE OF ACTION
                             Strict Liability under Section 402
                           of the Restatement(Second)of Torts
                                (Against All Defendants)

        45.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 44 above.


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        46.    Plaintiffs allege that Defendants were strictly liable for the defective

 design, manufacture, and installation of the airbags; airbag sensor; electrical parts;

 wiring; airbag module; and airbag inflator of the 2006 Ford Lincoln Zephyr.

        47.    Plaintiffs allege that Defendants failed to properly invent; develop;

 manufacturer; assemble; package; design; instruct; research; purchase; compound;

 inspect; test; label; warn of risk; warn of recalls; represent; specify; and assist in the

 installation, service or repair of Plaintiffs' 2006 Ford Lincoln Zephyr.

        48.    Plaintiffs allege Defendants are strictly liable for the damage and injuries

 sustained by Plaintiff Elanore Tillack, and both her special and general damages, set

 forth hereinabove and incorporated by this reference.

        49.    Plaintiffs also allege that Defendants are strictly liable for Plaintiff Ed

 Tillack's loss of consortium claim, pursuant to Utah Code Ann.§ 30-2-11.

        50.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was defective at the

 time of its manufacturing; design; development; production; testing; inspection;

 assembly; sale; installation; and distribution; and failed to warn the Tillacks for over

 thirteen years of the ongoing problems with the airbags not deploying.

        51.    Plaintiffs allege Defendants knew the product was defective, and the user

 would use this product and rely upon the airbags to deploy in the event of a motor

 vehicle crash. The airbags failed to deploy on January 3, 2020.




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                                             VI.

                              FOURTH CAUSE OF ACTION
                                 Violation of Statute
                               (Against All Defendants)

       52.     Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 51 above.

       53.     Plaintiffs allege that at all material times, Defendants had an obligation not

 to violate the law in the manufacturing; design; testing; production; assembly; research;

 installation; and inspection of the airbag parts and airbag, before putting the 2006 Ford

 Lincoln Zephyr in the string of commerce.

        54.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was unreasonably

 dangerous in the way it was designed; the way it was manufactured; and Plaintiffs and

 other users were never warned of the defective and unreasonably dangerous product.

 -Plaintiffs further allege that the design and manufacturing defect in the product made

 the 2006 Ford Lincoln Zephyr unreasonably dangerous, and the defect was present at

 the time it was manufactured; distributed; sold; and the design and manufacturing

 defect caused Plaintiff's injuries, in violation of Utah Code Ann.§ 78B-6-701; 78B-6-

 702; and 78B-6-203.

        55.    Plaintiff alleges that Defendants failed to comply with the various safety

 regulations, statutes, and Utah Code Ann. § 70A-2-313, Express Warranties; § 70A-2-

 314, Implied Warranties and Merchantability; and § 70A-2-315, Implied Warranty

 Fitness for a Particular Purpose.




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         56.   As a direct and proximate result of Defendants' violation of safety statutes,

 regulations, and Utah Code, Plaintiff Elanore Tillack suffered injuries and special and

 general damages set forth hereinabove and incorporated by this reference.

                                            VII.

                                FIFTH CAUSE OF ACTION
                                     Failure to Warn
                                (Against All Defendants)

         57.   Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 56 above.

         58.   Plaintiffs allege that Defendants failed to warn that they had not properly

 manufactured, designed, installed, and assembled the various component parts,

 including the airbag; the front sensor; side impact sensor; head sensor; diagnostic

 module; module for the airbag; the driver inflator module in the 2006 Ford Lincoln

 Zephyrs; wiring; and electrical parts.

         59.   Plaintiffs allege that Defendants knew or should have known of these

 various defects, and had approximately thirteen years to warn Plaintiffs of these defects,

 and failed to do so until sometime after Plaintiffs' motor vehicle crash on January 3,

 2020.

         60.   As a consequence of Defendants' failure to warn, the 2006 Ford Lincoln

 Zephyr was unreasonably dangerous and incapable of being made safe for the intended

 and ordinary use. As a consequence, Plaintiff Elanore Tillack suffered injuries and

 special and general damages as set forth hereinabove and incorporated by this

 reference.



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                                            VIII.

                               SIXTH CAUSE OF ACTION
                              Breach of Express Warranty
                               (Against All Defendants)

       61.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 60 above.

       62.    Plaintiffs allege that Defendants expressly warranted that the 2006 Ford

 Lincoln Zephyr was free from product defect and unreasonable dangerous condition,

 and would operate as specified in its manual, advertisements, marketing, and

 representations made by the various employees of Ford and various service centers

 throughout Utah.

       63.    Plaintiffs allege that Defendants violated Utah Code Ann.§ 70-2-313,

 Express Warranties, that the front sensor; side impact sensor; head sensor; diagnostic

 module; module airbag; driver inflator module; electrical parts; severed wiring; and

 airbag module were free from defects, warranted to be in good working order, and

 would perform as warrantied.

       64.    As a direct and proximate result of Defendants' breach of its express

 warranty, Plaintiff Elanore Tillack suffered injuries, and special and general damages

 set forth hereinabove, and incorporated herein by this reference.




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                                            IX.

                           SEVENTH CAUSE OF ACTION
                 Breach of Implied Warranty for a Particular Purpose
                                 and Merchantability
                              (Against All Defendants)

       65.    Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 64 above.

       66.    Plaintiffs allege that Defendants warranted that the 2006 Ford Lincoln

 Zephyr was, among other things, of merchantable quality, fit, safe, and in proper

 condition for the ordinary use in which the 2006 Ford Lincoln Zephyr was designed,

 manufactured, marketed, and demonstrated to perform.

       67.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was not of

 merchantable quality; rather, it was unfit, unsafe, and unusable for the purpose

 intended. The condition of the 2006 Ford Lincoln Zephyr did not perform for the

 particular purpose it was designed and was a direct cause of Plaintiff Elanore Tillack's

 injuries and damaged claimed by Plaintiffs, and both special and general, incorporated

 by this reference.

       68.    Plaintiffs allege that the 2006 Ford Lincoln Zephyr was not fit for its

 particular use, it was also not of merchantable quality, in violation of Utah Code Ann.

 §§ 7A-2-314 and 315.




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                                              X.

                               EIGHTH CAUSE OF ACTION
                               Negligent Misrepresentation
                                 Against All Defendants

       69.     Plaintiffs re-allege and incorporate herein by reference paragraphs 1

 through 68 above.

       70.     Plaintiffs allege that Defendants, and each of them, falsely represented to

 Plaintiffs that the 2006 Ford Lincoln Zephyr was safe for use and operation on the

 highways and bi-ways in the State of Utah.

       71.     Plaintiffs allege that the representations made by Defendants were, in fact,

 false. The true facts were that the 2006 Ford Lincoln Zephyr had a design,

 manufacturing and installation and product defect, was defective at the time, it left the

 Ford manufacturing plant and it was in a unreasonably dangerous condition and had not

 been corrected in response to the numerous complaints over the thirteen years

 regarding the defective airbags; airbag sensors; defective electrical parts; defective

 wiring; and defective airbag module.

       72.     Plaintiffs allege that given the force and the number of impacts to

 Plaintiffs' vehicle, the airbag should have deployed and minimized the extent of Plaintiff

 Elanore Tillack's injuries and damages sustained.

        WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

        1.     For past, present, and future special damages for Plaintiff Elanore Tillack,

 including medical expenses; lost wages; impaired earning capacity; property damage;




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 consequential damages; and other out-of-pocket expenses in an amount to be

 established at trial.

        2.      For past, present, and future general damages for Plaintiff Elanore Tillack,

 including physical pain and suffering; emotional pain and suffering; loss of enjoyment of

 life; permanent impairment/disability; permanent scarring; and an increased likelihood of

 re-injury or aggravation in an amount to be established at trial.

        3.      For loss of consortium for Plaintiff Ed Tillack, pursuant to Utah Code Ann.

 § 30-2-11, in an amount to be established at trial.

        4.      For prejudgment and post-judgment interest, costs of court, and such

 other relief as the Court deems equitable.

        DATED this 15th day of March, 2022.

                                    GEORGE T. WADDOUPS & ASSOCIATES


                                    /s/ George T. Waddoups
                                    George T. Waddoups
                                    Attorney for Plaintiffs


 PLAINTIFFS' ADDRESS:
 Elanore Tillack
 Ed Tillack
 P.O. Box 121
 Manti, Utah 84642




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Attorneys for Defendant Ford Motor Company

                           SIXTH JUDICIAL DISTRICT COURT
                       SANPETE COUNTY, MANTI, STATE OF UTAH


 ELANORE TILLACK AND ED TILLACK,

                       Plaintiff,
                                                      DEFENDANT FORD MOTOR
 vs.                                                  COMPANY’S ANSWER

 FORD MOTOR COMPANY, dba LINCOLN                      (Tier III)
 MOTOR COMPANY; FORD MOTOR
 SERVICE COMPANY; BLUFF STREET
 AUTO BROKERS, LLC; TAKATA                            Case No.: 210600084
 CORPORATION aka TAKATA
 PROTECTION SYSTEMS INC. TKJP;                        Judge: Wallace A. Lee
 TAKATA KYUSHU CORPORATION;
 TAKATA SERVICE CORPORATION,
 acquired in part by KEY SAFETY SYSTEMS
 (KSS),

                       Defendants.


       Defendant Ford Motor Company (“Ford”) hereby answers the Complaint of Plaintiffs

Elanore Tillack and Ed Tillack (hereafter, “Plaintiff”) as follows:
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                                                 I.

                          PARTIES, JURISDICTION, AND VENUE

       1.      Ford is without knowledge or information sufficient to form a belief concerning the

allegations of paragraph 1, and therefore denies same.

       2.      Ford admits it is a Delaware corporation and that its principal place of business is

in Michigan. The remaining allegations in paragraph 2 assert legal conclusions, to which no

response is necessary.

       3.      Ford admits it is a Delaware corporation and that its principal place of business is

in Michigan. The remaining allegations in paragraph 3 assert legal conclusions, to which no

response is necessary. To the extent a response is necessary, Ford denies the remaining allegations

in paragraph 3.

       4.      Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 4 regarding other defendants and entities, and therefore denies same.

Ford admits that it has manufactured and sold certain vehicles equipped with Takata airbags. Ford

further responds that Takata Corporation is an entirely separate company from Ford. Ford denies

any remaining allegations in paragraph 4 directed to Ford.

       5.      Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 5, and therefore denies same. Ford further responds that paragraph

5 contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the remaining allegations in paragraph 5.
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                                                   II.

                                     STATEMENT OF FACTS

        6.      Ford hereby incorporates by reference the responses contained in the foregoing

paragraphs as if they were fully set forth herein.

        7.      Ford admits that it manufactures in part and sells automobiles in various markets.

Ford denies any remaining allegations in paragraph 7.

        8.      Ford admits that it designed in part, manufactured in part, and assembled in part the

subject 2006 Zephyr. Ford denies any remaining allegations in paragraph 8.

        9.      Ford is without knowledge or information sufficient to form a belief concerning the

allegations of paragraph 9, and therefore denies same.

        10.     Ford is without knowledge or information sufficient to form a belief concerning the

allegations of paragraph 10, and therefore denies same.

        11.     Ford is without knowledge or information sufficient to form a belief concerning the

allegations of paragraph 11 as framed, and therefore denies the same. Ford specifically denies any

and all allegations of defect with regard to the subject vehicle or that any act or failure to act on its

part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

        12.     Ford denies the allegations of paragraph 12. Ford further specifically denies any

and all allegations of defect with regard to the subject vehicle or that any act or failure to act on its

part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

        13.     Paragraph 13 does not contain any allegations directed to Ford and therefore no

response is required. Ford specifically denies any and all allegations of defect with regard to the
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subject vehicle or that any act or failure to act on its part caused or contributed to Plaintiffs’ alleged

injuries and/or damages.

        14.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 14, and therefore denies the same.

        15.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 15, and therefore denies the same.

        16.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 16, and therefore denies the same.

        17.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 17, and therefore denies the same.

        18.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 18, and therefore denies the same.

        19.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 19, and therefore denies the same.

        20.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 20, and therefore denies the same.

        21.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 21, and therefore denies the same.

        22.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 22, and therefore denies the same.

        23.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 23, and therefore denies the same.
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       24.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 24, and therefore denies the same.

       25.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 25, and therefore denies the same.

       26.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 26, and therefore denies the same.

       27.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 27, and therefore denies the same.

       28.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 28, and therefore denies the same.

       29.     Ford denies the allegations contained in paragraph 29 of the Complaint.

       30.     Ford denies the allegations contained in paragraph 30 of the Complaint.

       31.     Ford denies the allegations contained in paragraph 31 of the Complaint.

       32.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 32, and therefore denies the same.

       33.     Ford denies the allegations contained in paragraph 33 of the Complaint.

                                                III.

                                  FIRST CAUSE OF ACTION
                                          Negligence
                                    (Against All Defendants)

       34.     Ford hereby incorporates by reference the responses contained in the foregoing

paragraphs as if they were fully set forth herein.
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       35.     Ford admits that the subject vehicle was inspected prior to the lawsuit being filed.

Ford is without knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 35 regarding Plaintiffs’ “position” upon inspecting the vehicle. Ford

specifically denies any and all allegations of defect with regard to the subject vehicle or that any

act or failure to act on its part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       36.     The allegations in paragraph 36 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Ford denies the allegations

contained in paragraph 36 of the Complaint. Ford specifically denies any and all allegations of

defect with regard to the subject vehicle or that any act or failure to act on its part caused or

contributed to Plaintiffs’ alleged injuries and/or damages.

       37.     Ford denies the allegations in paragraph 37 of the Complaint. Paragraph 37 also

contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 37 of the Complaint.

       38.     Ford denies the allegations contained in paragraph 38 of the Complaint. Paragraph

38 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 38 of the Complaint.

       39.     Ford denies the allegations contained in paragraph 39 of the Complaint. Paragraph

39 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 39 of the Complaint.

       40.     Ford denies the allegations contained in paragraph 40 of the Complaint. Paragraph

40 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 40 of the Complaint.
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                                                 IV.

                                SECOND CAUSE OF ACTION
                                 Products Liability Negligence
                                   (Against All Defendants)

       41.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       42.     Ford denies the allegations contained in paragraph 42 of the Complaint. Paragraph

42 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 42 of the Complaint.

       43.     Ford denies the allegations contained in paragraph 43 of the Complaint and its

subparts (a-e). Paragraph 43 also contains legal conclusions, to which no response is necessary.

To the extent a response is necessary, Ford denies the allegations contained in paragraph 43 of the

Complaint.

       44.     Ford denies the allegations contained in paragraph 44 of the Complaint. Paragraph

44 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 44 of the Complaint.

                                                 V.

                                  THIRD CAUSE OF ACTION
                               Strict Liability under Section 402
                              Of the Restatement (Second) of Torts
                                    (Against All Defendants)

       45.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.
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       46.     Ford denies the allegations contained in paragraph 46 of the Complaint. Paragraph

46 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 46 of the Complaint.

       47.     Ford denies the allegations contained in paragraph 47 of the Complaint. Paragraph

47 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 47 of the Complaint.

       48.     Ford denies the allegations contained in paragraph 48 of the Complaint. Paragraph

48 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 48 of the Complaint.

       49.     Ford denies the allegations contained in paragraph 49 of the Complaint. Paragraph

49 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 49 of the Complaint.

       50.     Ford denies the allegations contained in paragraph 50 of the Complaint. Paragraph

50 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 50 of the Complaint.

       51.     Ford denies the allegations contained in paragraph 51 of the Complaint. Paragraph

51 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 51 of the Complaint.
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                                                     VI.

                                    FOURTH CAUSE OF ACTION
                                        Violation of Statute
                                      (Against All Defendants)

       52.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       53.     The allegations contained in paragraph 53 of the Complaint call for legal

conclusions, to which no response is necessary. To the extent a response is necessary, Ford denies

the allegations contained in paragraph 53 of the Complaint. Ford specifically denies any and all

allegations of defect with regard to the subject vehicle or that any act or failure to act on its part

caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       54.     Ford denies the allegations contained in paragraph 54 of the Complaint. Paragraph

54 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 54 of the Complaint.

       55.     Ford denies the allegations contained in paragraph 55 of the Complaint. Paragraph

55 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 55 of the Complaint.

       56.     Ford denies the allegations contained in paragraph 56 of the Complaint. Paragraph

56 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 56 of the Complaint.
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                                                VIII.

                                  FIFTH CAUSE OF ACTION
                                        Failure to Warn
                                    (Against All Defendants)

       57.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       58.     Ford denies the allegations contained in paragraph 58 of the Complaint. Paragraph

58 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 58 of the Complaint.

       59.     Ford denies the allegations contained in paragraph 59 of the Complaint. Paragraph

59 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 59 of the Complaint.

       60.     Ford denies the allegations contained in paragraph 60 of the Complaint. Paragraph

60 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 60 of the Complaint.

                                                VIII.

                                  SIXTH CAUSE OF ACTION
                                  Breach of Express Warranty
                                    (Against All Defendants)

       61.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       62.     Ford denies the allegations contained in paragraph 62 of the Complaint. Paragraph

62 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 62 of the Complaint.
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       63.     Ford denies the allegations contained in paragraph 63 of the Complaint. Paragraph

63 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 63 of the Complaint.

       64.     Ford denies the allegations contained in paragraph 64 of the Complaint. Paragraph

64 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 64 of the Complaint.

                                                 IX.

                              SEVENTH CAUSE OF ACTION
                    Breach of Implied Warranty for a Particular Purpose
                                   And Merchantability
                                 (Against All Defendants)

       65.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       66.     Ford denies the allegations contained in paragraph 66 of the Complaint. Paragraph

66 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 66 of the Complaint.

       67.     Ford denies the allegations contained in paragraph 67 of the Complaint. Paragraph

67 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 67 of the Complaint.

       68.     Ford denies the allegations contained in paragraph 68 of the Complaint. Paragraph

68 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 68 of the Complaint.
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                                                  X.

                                 EIGHTH CAUSE OF ACTION
                                  Negligent Misrepresentation
                                    (Against All Defendants)

       69.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       70.     Ford denies the allegations contained in paragraph 70 of the Complaint. Paragraph

70 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 70 of the Complaint.

       71.     Ford denies the allegations contained in paragraph 71 of the Complaint. Paragraph

71 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 71 of the Complaint.

       72.     Ford denies the allegations contained in paragraph 72 of the Complaint. Paragraph

72 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 72 of the Complaint.

                                       GENERAL DENIAL

       Ford denies each and every allegation, statement, or legal conclusion asserted in the

Complaint not expressly admitted herein.

                                     PRAYER FOR RELIEF

       Ford denies that Plaintiffs are entitled to any of the relief sought in their prayer for relief.
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                                  AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the applicable statute of limitations

and / or repose.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the Complaint fails to state a

cause of action upon which relief may be granted against Ford.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, for lack of jurisdiction over Ford.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Plaintiffs’ alleged damages,

if any, were caused or contributed to by the negligence or fault or other persons, firms,

corporations, or entities over whom Ford has and had no control or right of control and for whom

it is not responsible and liability, fault and damages should be apportioned accordingly.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by federal preemption.

                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by Plaintiffs’ failure to take reasonable

steps to mitigate damages.
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                             SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the Subject Vehicle complied

with all applicable government regulations and standards at the time it was designed,

manufactured, and sold and therefore Ford is exempt from any award of punitive damages.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the proximate cause of the

accident described in Plaintiffs’ Complaint and the resulting injuries and damages, if any, to

Plaintiff may have been the use of the Subject Vehicle for a purpose, in a manner, or in an activity

other than that which was reasonably foreseeable or was contrary to an express or adequate

warning appearing on, attached to, or delivered with the Subject Vehicle; and further, the decedent

knew, or with the exercise of reasonable diligence and care should have known, of such

instructions and warnings.

                              NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the percentage or proportion

of fault attributable to Plaintiff and to others, whether or not joined as parties herein, should be

determined by separate special verdicts pursuant to Utah Code Ann. § 78B-5-819, thereby barring

or diminishing any recovery against Ford.

                              TENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, to the extent that the alleged injuries

of Plaintiff were not proximately caused or contributed to by any act or omission of Ford. To the

extent that Plaintiff suffered from any alleged injuries or damages, they were caused by the acts or

omissions on the part of parties, individuals, and entities other than Ford.
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                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’ claims may be barred, in whole or in part, because the Subject Vehicle was not

in the same condition at the time of the events, injuries and damages alleged in the Complaint as

when it left the custody and control of Ford.

                            TWELFTH AFFIRMATIVE DEFENSE

       If Plaintiff has received, or is now or subsequently becomes entitled to recover, any

compensation or benefits from any source in connection with the harm alleged in the Complaint,

the amount of damages, if any, which may be recoverable from this suit shall be diminished by the

amount of said recovery, compensation or benefits.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because at the time the Subject Vehicle

was sold by Ford, it was fit for its intended purpose and was not defective or unreasonably

dangerous, and it had adequate warnings.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Plaintiff cannot show that

any reasonable alternative design would have rendered the Subject Vehicle safer overall under the

Restatement (Third) of Product Liability § 2, cmt. f.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ breach of warranty claims may be barred by Utah Code Ann. § 70A-2-607.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, to the extent that Plaintiff has failed

to join indispensable parties necessary to this action.
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                         SEVENTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Plaintiffs’ alleged injuries

and damages, if any, was the result of Plaintiff Elanore Tillack’s own negligence, carelessness,

inattention, assumption of risk, or otherwise wrongful or unsafe act and Plaintiffs’ damages should

thereby be reduced or eliminated by the percentage of their negligence and fault.

                          EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the limitations and defenses set out

in the Utah Product Liability Act, Utah Code Ann. §§ 78B-6-701 to -707 (2021). Ford pleads all

available defenses under the Utah Product Liability Act.

                          NINETEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the plans or designs for the

subject product(s), and the method and techniques of designing, manufacturing, inspecting, testing

and labeling (including warnings and instructions for use) the product(s), conformed to the state-

of-the-art at the time the product was first sold and when the product(s) at issue left the control of

Ford, no practical and technically feasible alternative was available that would have prevented the

harm for which Plaintiff seeks to recover without substantially impairing the safety, efficacy, or

usefulness of the product(s) for its intended use.

                          TWENTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, as the product or products

manufactured or supplied by Ford, if any, were not unreasonably dangerous within the meaning of

Utah Code Ann. § 78B-6-703.
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                        TWENTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the doctrines of express or implied

pre-emption as a result of compliance of the product(s) at issue with any applicable industry and

government standards.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, due to Plaintiffs’ failure to read and

heed any applicable warnings.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Ford complied with all

applicable state and federal statutes and government regulations, and Ford is entitled to the

rebuttable presumption as set forth in Utah Code Ann. § 78B-6-703(2).

                      TWENTY-FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims for breach of warranty may be barred, in whole or in part, by a disclaimer,

exclusion, or limitation of warranties.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims for breach of warranty may be barred, in whole or in part, because

Plaintiff did not rely on any express or implied warranties, if any existed.

                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ warranty claims may be barred, in whole or in part, for failure to provide

reasonable and adequate notice of any breach of such alleged warranties. Utah Code Ann. § 70A-

2-607(3).
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                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred because the plans or designs for the subject product, and

the method and techniques of designing, manufacturing, inspecting, testing and labeling the

product, conformed to the state-of-the-art at the time the product was first sold.

                       TWENTY-EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred because the allegedly defective product Plaintiff contends

Ford designed, manufactured and sold was free from any defects or defective condition and was

not unreasonably dangerous at the time it left Ford’s custody and control.

                        TWENTY-NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the doctrines of assumption of the

risk and/or unreasonable use of a product.

                           THIRTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because the acts or omissions, if any,

alleged against Ford in the Complaint were not substantial factors in bringing about the alleged

injuries and damages to Plaintiff and therefore were not contributing causes thereof, but were

superseded by the acts and omissions of others, which were the independent, intervening and

proximate cause of any damages alleged by Plaintiff.

                         THIRTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred by the doctrines of laches, waiver, and/or estoppel.

                       THIRTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by additional affirmative defenses that

may arise during the course of the litigation. Ford has not knowingly or intentionally waived any
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applicable affirmative defenses or avoidance. Ford expressly reserves and does not waive the right

to amend its affirmative defenses as investigation, discovery, and/or trial reveal to be applicable.

                                         TRIAL BY JURY

        Ford demands a trial by jury for all issues triable by a jury and relies on the fee

previously paid to the Court by Plaintiff.

                           NOTICE OF ALLOCATION OF FAULT

        Pursuant to Rule 9 of the Utah Rules of Civil Procedure, Ford hereby provides notice that

it intends to allocate fault to non-parties. In support of its notice of allocation, Ford incorporates

its answer and affirmative defenses, and further states as follows:

        1.     The Utah Liability Reform Act, Utah Code Ann. §§ 78B-5-817 through 78B-5-823

provides for allocation of fault to parties and non-parties.

        2.     Plaintiff alleges in their Complaint that Ford is responsible, at least in part, for their

injuries.

        3.     Although Ford does not seek any affirmative relief from others, it is entitled to a

determination of the potential fault of other named parties and non-parties pursuant to Utah Code

Ann. §§ 78B-5-817 through 78B-5-823 and Rule 9(l) of the Utah Rules of Civil Procedure. Ford

further provides notice to allocate fault to third parties involved in the use, operation, maintenance,

inspection, repair, supply, and/or sale of the subject vehicle (including its component parts). These

parties and non-parties should be added to the special verdict form for purposes of determining

their percentage of fault for the alleged injuries and damages at issue.
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       4.      Ford reserves the right to provide notice of additional persons and/or entities that

caused or contributed to Plaintiffs’ alleged injuries or damages, and reserves the right to add other

persons or entities to the special verdict form.

                                        PRAYER FOR RELIEF

       WHEREFORE, having answered Plaintiffs’ Complaint, Ford prays that it be dismissed

with prejudice, that Plaintiff takes nothing thereby and that Ford be awarded its costs and for such

other relief as the Court deems just.

       DATED this 11th day of April, 2022.

                                                   SNELL & WILMER L.L.P.


                                                   By: /s/ Elisabeth M. McOmber
                                                   Tracy Fowler
                                                   Elisabeth M. McOmber
                                                   Aline Marie H. Longstaff
                                                   Attorneys for Defendant Ford Motor
                                                   Company
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this the 11th day of April, 2022, a true and correct copy of the

foregoing Answer was filed with the Court via Greenfiling, which effectuated notice upon all

parties of record, including the following:

         George T. Waddoups
         Geri C. Kelley
         George T. Waddoups & Associates PLLC
         623 East Fort Union Boulevard, Ste. 108
         Midvale, Utah 84047
         george@waddoupslaw.com
         geri@waddoupslaw.com

         Attorneys for Plaintiff

                                                     /s/ Mary Batchelor
                                                     Legal Administrative Assistant
                                                     with Snell & Wilmer L.L.P.




4875-9644-3419
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                            SIXTH JUDICIAL DISTRICT-MANTI
                           SANPETE COUNTY, STATE OF UTAH

ELANORE TILLACK,                               :
             Plaintiff                         :
                                               :
                                               :
vs.                                            :   NOTICE OF EVENT DUE DATES
                                               :
                                               :
                                               :
 FORD MOTOR COMPANY,                           :   Case No: 210600084 LP
            Defendant                          :   Discovery Tier: 3
                                               :   Judge: WALLACE A LEE

To Counsel and Parties:
The district court case management system has automatically generated this notice, calculating
the dates set forth below under Utah Rule of Civil Procedure 26. These dates will constitute the
schedule for disclosures, fact discovery, expert discovery, ADR and readiness for trial. This
schedule does not govern extraordinary discovery.
Based on the date the answer was filed, the following event due dates apply in this case. If any
date is a Saturday, Sunday or legal holiday, the due date is the following business day.
Date Answer filed:                       11-Apr-22
* Moving party's initial disclosures
due:                                     25-Apr-22 (Date answer filed plus 14 days)
* Responding party's initial
disclosures due:                         23-May-22 (Date answer filed plus 42 days)
                                                  (Date responding party's disclosures due plus
                                                  90, 120, 180, or 210 days, depending on the
* Fact discovery completed:             19-Dec-22 discovery tier.)
* Expert discovery completed:           17-Jul-23 (Date fact discovery completed plus 210 days)
* ADR completed (unless exempt):        17-Jul-23 (Date expert discovery completed)
* Certificate of Readiness for Trial
due:                                      17-Jul-23 (Date expert discovery completed)
The parties shall promptly notify the Court of any settlements or stipulations. Self Help
Resources are available at www.utcourts.gov.
CERTIFICATE OF NOTIFICATION
I certify that a copy of the attached document was sent to the following people for case
210600084 by the method and on the date specified.
EMAIL: ELISABETH MCOMBER
EMAIL: TRACY FOWLER
EMAIL: ALINE MARIE LONGSTAFF
EMAIL: GEORGE WADDOUPS
EMAIL: MICHELLE WADDOUPS
EMAIL: GEORGE WADDOUPS
EMAIL: MICHELLE WADDOUPS
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MAIL: FORD MOTOR SERVICE COMPANY
MAIL: BLUFF STREET AUTO BROKERS LLC
MAIL: TAKATA CORPORATION
MAIL: TAKATA KYUSHU CORPORATION
MAIL: TAKATA SERVICE CORPORATION
MAIL: KEY SAFETY SYSTEMS KSS
MAIL: JOHN DOE CORPORATIONS 1-5
MAIL: JOYSON SAFETY SYSTEMS
MAIL: JOYSON SAFETY SYSTEMS ACQ LLC
Date: April 11, 2022                        /s/ LINDA EKKER
                                                    Clerk/Clerk of Court
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.129 Page 120 of 182




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Attorneys for Defendant Ford Motor Company

                           SIXTH JUDICIAL DISTRICT COURT
                       SANPETE COUNTY, MANTI, STATE OF UTAH


 ELANORE TILLACK AND ED TILLACK,

                       Plaintiff,
                                                      DEFENDANT FORD MOTOR
 vs.                                                  COMPANY’S AMENDED ANSWER
                                                      AND CROSSCLAIM FOR
 FORD MOTOR COMPANY, dba LINCOLN                      APPORTIONMENT OF FAULT
 MOTOR COMPANY; FORD MOTOR                            AGAINST DEFENDANT BLUFF
 SERVICE COMPANY; BLUFF STREET                        STREET AUTO BROKERS, LLC
 AUTO BROKERS, LLC; TAKATA
 CORPORATION aka TAKATA                               (Tier III)
 PROTECTION SYSTEMS INC. TKJP;
 TAKATA KYUSHU CORPORATION;
 TAKATA SERVICE CORPORATION,                          Case No.: 210600084
 acquired in part by KEY SAFETY SYSTEMS
 (KSS),                                               Judge: Wallace A. Lee

                       Defendants.


       Pursuant to Utah Rules of Civil Procedure 15 and 13, Defendant Ford Motor Company

(“Ford”) hereby submits its Amended Answer to the Complaint of Plaintiffs Elanore Tillack and

Ed Tillack (hereafter, “Plaintiffs”) and its Crossclaim against Defendant Bluff Street Auto Brokers,

LLC as follows:
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                                                 I.

                          PARTIES, JURISDICTION, AND VENUE

       1.      Ford is without knowledge or information sufficient to form a belief concerning the

allegations of paragraph 1, and therefore denies same.

       2.      Ford admits it is a Delaware corporation and that its principal place of business is

in Michigan. The remaining allegations in paragraph 2 assert legal conclusions, to which no

response is necessary.

       3.      Ford admits it is a Delaware corporation and that its principal place of business is

in Michigan. The remaining allegations in paragraph 3 assert legal conclusions, to which no

response is necessary. To the extent a response is necessary, Ford denies the remaining allegations

in paragraph 3.

       4.      Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 4 regarding other defendants and entities, and therefore denies same.

Ford admits that it has manufactured and sold certain vehicles equipped with Takata airbags. Ford

further responds that Takata Corporation is an entirely separate company from Ford. Ford denies

any remaining allegations in paragraph 4 directed to Ford.

       5.      Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 5, and therefore denies same. Ford further responds that paragraph

5 contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the remaining allegations in paragraph 5.
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                                                   II.

                                     STATEMENT OF FACTS

        6.      Ford hereby incorporates by reference the responses contained in the foregoing

paragraphs as if they were fully set forth herein.

        7.      Ford admits that it manufactures in part and sells automobiles in various markets.

Ford denies any remaining allegations in paragraph 7.

        8.      Ford admits that it designed in part, manufactured in part, and assembled in part the

subject 2006 Zephyr. Ford denies any remaining allegations in paragraph 8.

        9.      Ford is without knowledge or information sufficient to form a belief concerning the

allegations of paragraph 9, and therefore denies same.

        10.     Ford is without knowledge or information sufficient to form a belief concerning the

allegations of paragraph 10, and therefore denies same.

        11.     Ford is without knowledge or information sufficient to form a belief concerning the

allegations of paragraph 11 as framed, and therefore denies the same. Ford specifically denies any

and all allegations of defect with regard to the subject vehicle or that any act or failure to act on its

part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

        12.     Ford denies the allegations of paragraph 12. Ford further specifically denies any

and all allegations of defect with regard to the subject vehicle or that any act or failure to act on its

part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

        13.     Paragraph 13 does not contain any allegations directed to Ford and therefore no

response is required. Ford specifically denies any and all allegations of defect with regard to the
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subject vehicle or that any act or failure to act on its part caused or contributed to Plaintiffs’ alleged

injuries and/or damages.

        14.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 14, and therefore denies the same.

        15.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 15, and therefore denies the same.

        16.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 16, and therefore denies the same.

        17.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 17, and therefore denies the same.

        18.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 18, and therefore denies the same.

        19.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 19, and therefore denies the same.

        20.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 20, and therefore denies the same.

        21.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 21, and therefore denies the same.

        22.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 22, and therefore denies the same.

        23.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 23, and therefore denies the same.
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       24.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 24, and therefore denies the same.

       25.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 25, and therefore denies the same.

       26.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 26, and therefore denies the same.

       27.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 27, and therefore denies the same.

       28.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 28, and therefore denies the same.

       29.     Ford denies the allegations contained in paragraph 29 of the Complaint.

       30.     Ford denies the allegations contained in paragraph 30 of the Complaint.

       31.     Ford denies the allegations contained in paragraph 31 of the Complaint.

       32.     Ford is without knowledge or information sufficient to form a belief as to the truth

of the allegations in paragraph 32, and therefore denies the same.

       33.     Ford denies the allegations contained in paragraph 33 of the Complaint.

                                                III.

                                  FIRST CAUSE OF ACTION
                                          Negligence
                                    (Against All Defendants)

       34.     Ford hereby incorporates by reference the responses contained in the foregoing

paragraphs as if they were fully set forth herein.
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       35.     Ford admits that the subject vehicle was inspected prior to the lawsuit being filed.

Ford is without knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 35 regarding Plaintiffs’ “position” upon inspecting the vehicle. Ford

specifically denies any and all allegations of defect with regard to the subject vehicle or that any

act or failure to act on its part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       36.     The allegations in paragraph 36 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Ford denies the allegations

contained in paragraph 36 of the Complaint. Ford specifically denies any and all allegations of

defect with regard to the subject vehicle or that any act or failure to act on its part caused or

contributed to Plaintiffs’ alleged injuries and/or damages.

       37.     Ford denies the allegations in paragraph 37 of the Complaint. Paragraph 37 also

contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 37 of the Complaint.

       38.     Ford denies the allegations contained in paragraph 38 of the Complaint. Paragraph

38 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 38 of the Complaint.

       39.     Ford denies the allegations contained in paragraph 39 of the Complaint. Paragraph

39 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 39 of the Complaint.

       40.     Ford denies the allegations contained in paragraph 40 of the Complaint. Paragraph

40 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 40 of the Complaint.
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                                                 IV.

                                SECOND CAUSE OF ACTION
                                 Products Liability Negligence
                                   (Against All Defendants)

       41.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       42.     Ford denies the allegations contained in paragraph 42 of the Complaint. Paragraph

42 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 42 of the Complaint.

       43.     Ford denies the allegations contained in paragraph 43 of the Complaint and its

subparts (a-e). Paragraph 43 also contains legal conclusions, to which no response is necessary.

To the extent a response is necessary, Ford denies the allegations contained in paragraph 43 of the

Complaint.

       44.     Ford denies the allegations contained in paragraph 44 of the Complaint. Paragraph

44 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 44 of the Complaint.

                                                 V.

                                  THIRD CAUSE OF ACTION
                               Strict Liability under Section 402
                              Of the Restatement (Second) of Torts
                                    (Against All Defendants)

       45.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.
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       46.     Ford denies the allegations contained in paragraph 46 of the Complaint. Paragraph

46 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 46 of the Complaint.

       47.     Ford denies the allegations contained in paragraph 47 of the Complaint. Paragraph

47 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 47 of the Complaint.

       48.     Ford denies the allegations contained in paragraph 48 of the Complaint. Paragraph

48 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 48 of the Complaint.

       49.     Ford denies the allegations contained in paragraph 49 of the Complaint. Paragraph

49 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 49 of the Complaint.

       50.     Ford denies the allegations contained in paragraph 50 of the Complaint. Paragraph

50 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 50 of the Complaint.

       51.     Ford denies the allegations contained in paragraph 51 of the Complaint. Paragraph

51 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 51 of the Complaint.
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                                                VI.

                                FOURTH CAUSE OF ACTION
                                    Violation of Statute
                                  (Against All Defendants)

       52.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       53.     The allegations contained in paragraph 53 of the Complaint call for legal

conclusions, to which no response is necessary. To the extent a response is necessary, Ford denies

the allegations contained in paragraph 53 of the Complaint. Ford specifically denies any and all

allegations of defect with regard to the subject vehicle or that any act or failure to act on its part

caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       54.     Ford denies the allegations contained in paragraph 54 of the Complaint. Paragraph

54 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 54 of the Complaint.

       55.     Ford denies the allegations contained in paragraph 55 of the Complaint. Paragraph

55 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 55 of the Complaint.

       56.     Ford denies the allegations contained in paragraph 56 of the Complaint. Paragraph

56 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 56 of the Complaint.
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                                                VIII.

                                  FIFTH CAUSE OF ACTION
                                        Failure to Warn
                                    (Against All Defendants)

       57.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       58.     Ford denies the allegations contained in paragraph 58 of the Complaint. Paragraph

58 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 58 of the Complaint.

       59.     Ford denies the allegations contained in paragraph 59 of the Complaint. Paragraph

59 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 59 of the Complaint.

       60.     Ford denies the allegations contained in paragraph 60 of the Complaint. Paragraph

60 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 60 of the Complaint.

                                                VIII.

                                  SIXTH CAUSE OF ACTION
                                  Breach of Express Warranty
                                    (Against All Defendants)

       61.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       62.     Ford denies the allegations contained in paragraph 62 of the Complaint. Paragraph

62 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 62 of the Complaint.
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       63.     Ford denies the allegations contained in paragraph 63 of the Complaint. Paragraph

63 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 63 of the Complaint.

       64.     Ford denies the allegations contained in paragraph 64 of the Complaint. Paragraph

64 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 64 of the Complaint.

                                                 IX.

                              SEVENTH CAUSE OF ACTION
                    Breach of Implied Warranty for a Particular Purpose
                                   And Merchantability
                                 (Against All Defendants)

       65.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       66.     Ford denies the allegations contained in paragraph 66 of the Complaint. Paragraph

66 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 66 of the Complaint.

       67.     Ford denies the allegations contained in paragraph 67 of the Complaint. Paragraph

67 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 67 of the Complaint.

       68.     Ford denies the allegations contained in paragraph 68 of the Complaint. Paragraph

68 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 68 of the Complaint.
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                                                  X.

                                 EIGHTH CAUSE OF ACTION
                                  Negligent Misrepresentation
                                    (Against All Defendants)

       69.     Ford hereby incorporates by reference the answers contained in the foregoing

paragraphs as if they were fully set forth herein.

       70.     Ford denies the allegations contained in paragraph 70 of the Complaint. Paragraph

70 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 70 of the Complaint.

       71.     Ford denies the allegations contained in paragraph 71 of the Complaint. Paragraph

71 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 71 of the Complaint.

       72.     Ford denies the allegations contained in paragraph 72 of the Complaint. Paragraph

72 also contains legal conclusions, to which no response is necessary. To the extent a response is

necessary, Ford denies the allegations contained in paragraph 72 of the Complaint.

                                       GENERAL DENIAL

       Ford denies each and every allegation, statement, or legal conclusion asserted in the

Complaint not expressly admitted herein.

                                     PRAYER FOR RELIEF

       Ford denies that Plaintiffs are entitled to any of the relief sought in their prayer for relief.
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                                  AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the applicable statute of limitations

and / or repose.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the Complaint fails to state a

cause of action upon which relief may be granted against Ford.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, for lack of jurisdiction over Ford.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Plaintiffs’ alleged damages,

if any, were caused or contributed to by the negligence or fault or other persons, firms,

corporations, or entities over whom Ford has and had no control or right of control and for whom

it is not responsible and liability, fault and damages should be apportioned accordingly.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by federal preemption.

                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by Plaintiffs’ failure to take reasonable

steps to mitigate damages.
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                             SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the Subject Vehicle complied

with all applicable government regulations and standards at the time it was designed,

manufactured, and sold and therefore Ford is exempt from any award of punitive damages.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the proximate cause of the

accident described in Plaintiffs’ Complaint and the resulting injuries and damages, if any, to

Plaintiff may have been the use of the Subject Vehicle for a purpose, in a manner, or in an activity

other than that which was reasonably foreseeable or was contrary to an express or adequate

warning appearing on, attached to, or delivered with the Subject Vehicle; and further, the decedent

knew, or with the exercise of reasonable diligence and care should have known, of such

instructions and warnings.

                              NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the percentage or proportion

of fault attributable to Plaintiff and to others, whether or not joined as parties herein, should be

determined by separate special verdicts pursuant to Utah Code Ann. § 78B-5-819, thereby barring

or diminishing any recovery against Ford.

                              TENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, to the extent that the alleged injuries

of Plaintiff were not proximately caused or contributed to by any act or omission of Ford. To the

extent that Plaintiff suffered from any alleged injuries or damages, they were caused by the acts or

omissions on the part of parties, individuals, and entities other than Ford.
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                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’ claims may be barred, in whole or in part, because the Subject Vehicle was not

in the same condition at the time of the events, injuries and damages alleged in the Complaint as

when it left the custody and control of Ford.

                            TWELFTH AFFIRMATIVE DEFENSE

       If Plaintiff has received, or is now or subsequently becomes entitled to recover, any

compensation or benefits from any source in connection with the harm alleged in the Complaint,

the amount of damages, if any, which may be recoverable from this suit shall be diminished by the

amount of said recovery, compensation or benefits.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because at the time the Subject Vehicle

was sold by Ford, it was fit for its intended purpose and was not defective or unreasonably

dangerous, and it had adequate warnings.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Plaintiff cannot show that

any reasonable alternative design would have rendered the Subject Vehicle safer overall under the

Restatement (Third) of Product Liability § 2, cmt. f.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ breach of warranty claims may be barred by Utah Code Ann. § 70A-2-607.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, to the extent that Plaintiff has failed

to join indispensable parties necessary to this action.
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                         SEVENTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Plaintiffs’ alleged injuries

and damages, if any, was the result of Plaintiff Elanore Tillack’s own negligence, carelessness,

inattention, assumption of risk, or otherwise wrongful or unsafe act and Plaintiffs’ damages should

thereby be reduced or eliminated by the percentage of their negligence and fault.

                          EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the limitations and defenses set out

in the Utah Product Liability Act, Utah Code Ann. §§ 78B-6-701 to -707 (2021). Ford pleads all

available defenses under the Utah Product Liability Act.

                          NINETEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the plans or designs for the

subject product(s), and the method and techniques of designing, manufacturing, inspecting, testing

and labeling (including warnings and instructions for use) the product(s), conformed to the state-

of-the-art at the time the product was first sold and when the product(s) at issue left the control of

Ford, no practical and technically feasible alternative was available that would have prevented the

harm for which Plaintiff seeks to recover without substantially impairing the safety, efficacy, or

usefulness of the product(s) for its intended use.

                          TWENTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, as the product or products

manufactured or supplied by Ford, if any, were not unreasonably dangerous within the meaning of

Utah Code Ann. § 78B-6-703.
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                        TWENTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the doctrines of express or implied

pre-emption as a result of compliance of the product(s) at issue with any applicable industry and

government standards.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, due to Plaintiffs’ failure to read and

heed any applicable warnings.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Ford complied with all

applicable state and federal statutes and government regulations, and Ford is entitled to the

rebuttable presumption as set forth in Utah Code Ann. § 78B-6-703(2).

                      TWENTY-FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims for breach of warranty may be barred, in whole or in part, by a disclaimer,

exclusion, or limitation of warranties.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims for breach of warranty may be barred, in whole or in part, because

Plaintiff did not rely on any express or implied warranties, if any existed.

                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ warranty claims may be barred, in whole or in part, for failure to provide

reasonable and adequate notice of any breach of such alleged warranties. Utah Code Ann. § 70A-

2-607(3).
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                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred because the plans or designs for the subject product, and

the method and techniques of designing, manufacturing, inspecting, testing and labeling the

product, conformed to the state-of-the-art at the time the product was first sold.

                       TWENTY-EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred because the allegedly defective product Plaintiff contends

Ford designed, manufactured and sold was free from any defects or defective condition and was

not unreasonably dangerous at the time it left Ford’s custody and control.

                        TWENTY-NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the doctrines of assumption of the

risk and/or unreasonable use of a product.

                           THIRTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because the acts or omissions, if any,

alleged against Ford in the Complaint were not substantial factors in bringing about the alleged

injuries and damages to Plaintiff and therefore were not contributing causes thereof, but were

superseded by the acts and omissions of others, which were the independent, intervening and

proximate cause of any damages alleged by Plaintiff.

                         THIRTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred by the doctrines of laches, waiver, and/or estoppel.

                       THIRTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by additional affirmative defenses that

may arise during the course of the litigation. Ford has not knowingly or intentionally waived any
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applicable affirmative defenses or avoidance. Ford expressly reserves and does not waive the right

to amend its affirmative defenses as investigation, discovery, and/or trial reveal to be applicable.

                                         TRIAL BY JURY

        Ford demands a trial by jury for all issues triable by a jury and relies on the fee previously

paid to the Court by Plaintiff.

                           NOTICE OF ALLOCATION OF FAULT

        Pursuant to Rule 9 of the Utah Rules of Civil Procedure, Ford hereby provides notice that

it intends to allocate fault to non-parties. In support of its notice of allocation, Ford incorporates

its answer and affirmative defenses, and further states as follows:

        1.     The Utah Liability Reform Act, Utah Code Ann. §§ 78B-5-817 through 78B-5-823

provides for allocation of fault to parties and non-parties.

        2.     Plaintiff alleges in their Complaint that Ford is responsible, at least in part, for their

injuries.

        3.     Although Ford does not seek any affirmative relief from others, it is entitled to a

determination of the potential fault of other named parties and non-parties pursuant to Utah Code

Ann. §§ 78B-5-817 through 78B-5-823 and Rule 9(l) of the Utah Rules of Civil Procedure. Ford

further provides notice to allocate fault to third parties involved in the use, operation, maintenance,

inspection, repair, supply, and/or sale of the subject vehicle (including its component parts). These

parties and non-parties should be added to the special verdict form for purposes of determining

their percentage of fault for the alleged injuries and damages at issue.
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.148 Page 139 of 182




        4.      Ford reserves the right to provide notice of additional persons and/or entities that

caused or contributed to Plaintiffs’ alleged injuries or damages, and reserves the right to add other

persons or entities to the special verdict form.

                                          CROSSCLAIM

        Pursuant to Rule 13 of the Utah Rules of Civil Procedure, and in accordance with applicable

Utah law, including, but not limited to, Utah Code §§ 78B-5-817 through 78B-5-823 and common

law indemnity, Ford hereby crossclaims against Co-Defendant Bluff Street Auto Brokers, LLC for

the allocation of fault or, alternatively, the comparative causation of this Co-Defendant’s fault at

the trial of this matter.

                                     PRAYER FOR RELIEF

        WHEREFORE, having answered Plaintiffs’ Complaint, Ford prays that it be dismissed

with prejudice, that Plaintiff takes nothing thereby and that Ford be awarded its costs and for such

other relief as the Court deems just.

        DATED this 2nd day of May, 2022.

                                                   SNELL & WILMER L.L.P.


                                                   By: /s/ Elisabeth M. McOmber
                                                   Tracy Fowler
                                                   Elisabeth M. McOmber
                                                   Aline Marie H. Longstaff
                                                   Attorneys for Defendant Ford Motor
                                                   Company
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.149 Page 140 of 182




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this the 2nd day of May, 2022, a true and correct copy of the

foregoing Answer was filed with the Court via Greenfiling, which effectuated notice upon all

parties of record, including the following:

         George T. Waddoups
         Geri C. Kelley
         George T. Waddoups & Associates PLLC
         623 East Fort Union Boulevard, Ste. 108
         Midvale, Utah 84047
         george@waddoupslaw.com
         geri@waddoupslaw.com

         Attorneys for Plaintiff

                                                   /s/ Mary Batchelor
                                                   Legal Administrative Assistant
                                                   with Snell & Wilmer L.L.P.




4856-4082-3068
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.150 Page 141 of 182




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Geri C. Kelley, #8800
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george@waddoupslaw.com
geri@waddoupslaw.com
Attorneys for Plaintiffs


                    IN THE SIXTH JUDICIAL DISTRICT COURT,

         IN AND FOR SANPETE COUNTY, MANTI, UTAH DEPARTMENT


 ELANORE TILLACK AND ED TILLACK,       CERTIFICATE OF SERVICE FOR
                                       PLAINTIFFS’ INITIAL DISCLOSURES
          Plaintiffs,                  PURSUANT TO U.R.C.P. RULE 26(a)(1)

 v.

 FORD MOTOR COMPANY, a Delaware
 Corporation, dba LINCOLN MOTOR
 COMPANY; FORD MOTOR SERVICE
 COMPANY; BLUFF STREET AUTO
 BROKERS, LLC, Utah; TAKATA
 CORPORATION, aka TAKATA
 PROTECTION SYSTEMS INC. TKJP;
 TAKATA KYUSHU CORPORATION;
 TAKATA SERVICE CORPORATION,
 acquired in part by KEY SAFETY
 SYSTEMS (KSS) aka JOYSON SAFETY
 SYSTEMS; JOYSON SAFETY
 SYSTEMS ACQUISITIONS, LLC; and
 JOHN DOE CORPORATIONS 1-5,            Civil Number 210600084

          Defendants.                  Judge Wallace A. Lee
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.151 Page 142 of 182




      George T. Waddoups & Associates PLLC, attorneys for Plaintiffs, hereby certify

that a true and correct copy of PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO

U.R.C.P. RULE 26(a)(1) was e-mailed on the 16th day of May, 2022, to the following:

      Tracy H. Fowler
      Elisabeth M. McOmber
      Aline Marie H. Longstaff
      Snell & Wilmer L.L.P.
      tfowler@swlaw.com
      emcomber@swlaw.com
      alongstaff@swlaw.com
      Attorneys for Defendant Ford Motor Company

      DATED this 17th day of May, 2022.

                                 GEORGE T. WADDOUPS & ASSOCIATES PLLC


                                 /s/ George T. Waddoups__
                                 George T. Waddoups
                                 Attorney for Plaintiffs




                                          2
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.152 Page 143 of 182




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alongstaff@swlaw.com

Attorneys for Defendant Ford Motor Company

                          SIXTH JUDICIAL DISTRICT COURT
                      SANPETE COUNTY, MANTI, STATE OF UTAH


 ELANORE TILLACK AND ED TILLACK,

                      Plaintiff,
                                                     CERTIFICATE OF SERVICE
 vs.                                                 OF DEFENDANT FORD
                                                     MOTOR COMPANY’S
 FORD MOTOR COMPANY, dba LINCOLN                     INITIAL DISCLOSURES
 MOTOR COMPANY; FORD MOTOR
 SERVICE COMPANY; BLUFF STREET                       (Tier III)
 AUTO BROKERS, LLC; TAKATA
 CORPORATION aka TAKATA
 PROTECTION SYSTEMS INC. TKJP;                       Case No.: 210600084
 TAKATA KYUSHU CORPORATION;
 TAKATA SERVICE CORPORATION,                         Judge: Wallace A. Lee
 acquired in part by KEY SAFETY SYSTEMS
 (KSS),

                      Defendants.


       This is to certify that on the 13th day of June, 2022, a true and correct copy of Defendant

Ford Motor Company’s Initial Disclosures and this Certificate of Service were served via email

and U.S. Mail to all counsel of record including the following:

       George T. Waddoups
       Geri C. Kelley
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.153 Page 144 of 182




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         geri@waddoupslaw.com

         Attorneys for Plaintiffs


                                                   SNELL & WILMER L.L.P.


                                                   By: /s/ Elisabeth M. mcOmber
                                                   Elisabeth M. McOmber
                                                   Tracy Fowler
                                                   Aline Marie H. Longstaff
                                                   Attorneys for Defendant Ford Motor
                                                   Company



4858-1002-1156




                                              2
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.154 Page 145 of 182




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tfowler@swlaw.com
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alongstaff@swlaw.com

Attorneys for Defendant Ford Motor Company

                           SIXTH JUDICIAL DISTRICT COURT
                       SANPETE COUNTY, MANTI, STATE OF UTAH


 ELANORE TILLACK AND ED TILLACK,                      STIPULATED MOTION TO DISMISS
                                                      WITHOUT PREJUDICE 1) KEY
                       Plaintiff,                     SAFETY SYSTEMS (KSS) AKA
                                                      JOYSON SAFETY SYSTEMS,
 vs.                                                  JOYSON SAFETY SYSTEMS
                                                      ACQUISITIONS, LLC, AND BLUFF
 FORD MOTOR COMPANY, dba LINCOLN                      STREET AUTO BROKERS, LLC, AND
 MOTOR COMPANY; FORD MOTOR                            2) DEFENDANT FORD MOTOR
 SERVICE COMPANY; BLUFF STREET                        COMPANY’S CROSSCLAIM
 AUTO BROKERS, LLC; TAKATA                            AGAINST DEFENDANT BLUFF
 CORPORATION aka TAKATA                               STREET AUTO BROKERS
 PROTECTION SYSTEMS INC. TKJP;
 TAKATA KYUSHU CORPORATION;                           Case No. 210600084
 TAKATA SERVICE CORPORATION,                          Judge: Mandy Larsen
 acquired in part by KEY SAFETY SYSTEMS
 (KSS),

                       Defendants.


       Plaintiffs Elanore Tillack and Ed Tillack (“Plaintiffs”) and Defendant Ford Motor

Company (“Ford”; together, the “Parties”), through counsel, hereby stipulate and jointly move the

Court, pursuant to Rules 41(a) and 41(c) of the Utah Rules of Civil Procedure, to dismiss all claims

against defendants Key Safety Systems (KSS) aka Joyson Safety Systems, Joyson Safety Systems
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.155 Page 146 of 182




Acquisitions, LLC, and Bluff Street Auto Brokers, LLC, without prejudice, including Ford’s

Cross-claim against Bluff Street Auto Brokers, LLC.

       The defendants being dismissed from the above-referenced action have not filed answers

or motions for summary judgment or otherwise appeared through counsel.

       A proposed Order of Dismissal accompanies this motion.

       DATED this 22nd day of August, 2022.

                                          SNELL & WILMER L.L.P.


                                          By: /s/ Tracy H. Fowler
                                          Tracy Fowler
                                          Elisabeth M. McOmber
                                          Aline Marie H. Longstaff
                                          Attorneys for Defendant Ford Motor Company

                                          GEORGE T. WADDOUPS & ASSOCIATES PLLC

                                          By: /s/ Geri C. Kelley (signed by filing attorney with
                                          Geri C. Kelley                     permission of Geri
                                          George T. Waddoups                C. Kelley via email)

                                          Attorneys for Plaintiffs




                                              2
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.156 Page 147 of 182




                                    CERTIFICATE OF SERVICE


         This is to certify that on the 22nd day of August, 2022, a true and correct copy of STIPULATED

MOTION TO DISMISS WITHOUT PREJUDICE 1) KEY SAFETY SYSTEMS (KSS) AKA

JOYSON SAFETY SYSTEMS, JOYSON SAFETY SYSTEMS ACQUISITIONS, LLC,

AND BLUFF STREET AUTO BROKERS, LLC, AND 2) DEFENDANT FORD MOTOR

COMPANY’S CROSSCLAIM AGAINST DEFENDANT BLUFF STREET AUTO

BROKERS, and also filed via the Court’s efiling system, which effectuated service upon all counsel of

record, including the following:

         George T. Waddoups
         Geri C. Kelley
         George T. Waddoups & Associates PLLC
         623 East Fort Union Boulevard, Ste. 108
         Midvale, Utah 84047
         george@waddoupslaw.com
         geri@waddoupslaw.com

         Attorneys for Plaintiffs


                                                       /s/ Mary Batchelor
                                                       Legal Administrative Assistant
                                                       Snell & Wilmer L.L.P.




4860-4272-4910




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          Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.157 Page 148 of 182
                                                The Order of the Court is stated below:
                                                           Dated: August 23, 2022   /s/ MANDY LARSEN
                                                                  10:10:55 AM           District Court Judge




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          Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.158 Page 149 of 182




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          Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.159 Page 150 of 182




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August 23, 2022 10:10 AM                                                                 3 of 3
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.160 Page 151 of 182




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                               D
Attorneys for Defendant Ford Motor Company




                            SE
                         SIXTH JUDICIAL DISTRICT
                                          STRICT COURT
                     SANPETE COUNTY, MANTI,         O UTAH
                                        ANTI, STATE OF


 ELANORE TILLACK AND ED TILLACK,
                           LACK,
                            ACK                   ORD
                                                  ORDER
                                                  O RD   GRANTING DISMISSAL
                         PO
                                                  WITHOUT PREJUDICE 1)
                                                  W
                     Plaintiff,                   DEFENDANTS KEY SAFETY
                                                  SYSTEMS (KSS) AKA JOYSON
 vs.                                              SAFETY SYSTEMS, JOYSON SAFETY
                                                  SYSTEMS ACQUISITIONS, LLC, AND
 FORD MOTOR COMPANY,   MPANY,
                          ANY, dba LINCOLN
                                   LINC           BLUFF STREET AUTO BROKERS,
                 O

 MOTOR COMPANY;      NY; FORD MOTOR
                               MOT
                               MOTO               LLC, AND 2) DEFENDANT FORD
 SERVICE COMPANY;  PANY; BLUFF STREET
                                 S                MOTOR COMPANY’S CROSSCLAIM
 AUTO BROKERS,KERS,
                  RS, LLC; TAKA
                           TAK
                           TAKATA                 AGAINST DEFENDANT BLUFF
   PR



           ATION aka TAKATA
 CORPORATION            TAKA
                        T                         STREET AUTO BROKERS
        CTION SYSTEM
 PROTECTION       SYSTEMS INC. TKJP;
 TAKATA KYUSKYUSHU C    CORPORATION;              Case No. 210600084
             ERVI
             ERVICE
 TAKATA SERVICE         CORPORATION,              Judge: Mandy Larsen
 acquired in part bby KEY SAFETY SYSTEMS
 (KSS),

                     Defendants.


       Plaintiffs Elanore Tillack and Ed Tillack and Defendant Ford Motor Company, by and

through their respective counsel, have stipulated and moved the Court for an Order Dismissing

Without Prejudice 1) Defendants Key Safety Systems (KSS) aka Joyson Safety Systems, Joyson

Safety Systems Acquisitions, LLC, and Bluff Street Auto Brokers, LLC, and 2) Dismissing
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.161 Page 152 of 182




Ford’s Crossclaim from the above-captioned matter. The Court, having reviewed the Stipulated

Motion to Dismiss, finds good cause appearing, therefore:

         IT IS HEREBY ORDERED that all claims and causes of action alleged against

Defendants Key Safety Systems (KSS) aka Joyson Safety Systems, Joyson Safety Systems

                                                         d Defendant Ford
Acquisitions, LLC, and Bluff Street Auto Brokers, LLC, and                                  Motor

Company’s Crossclaim against Defendant Bluff Streett Auto Br
                                                          Bro
                                                          Brokers, LLC, in the




                                             D
                                                  MISSED WITHOUT
above-captioned matter shall be and are hereby DISMISSED WITHOU PREJUDICE, each




                                           SE
party to bear its own costs and attorneys’ fees.



                 *     *        *         ND OF ORDER
                                         END                      *        *        *
                            PO
 Pursuant to Rule 10(e) of thee Utah Rules
                                      Rul of Civil
                                             C     Procedure, this Order will be entered by
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                 rm:
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Approved as to form:

                his 22nd day of August, 2022.
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         DATED
    PR



         GEORGE
          EORGE T. WAD
                   WADDOUPS & ASSOCIATES PLLC

         By: /s/ Geri C
                      C. Kelley (signed by filing attorney with permission of Geri C. Kelley rec’d
         George T. Waddoups                                                     via email 8/22/22)
         Geri C. Kelley

         Attorneys for Plaintiffs



4872-1824-4398
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.162 Page 153 of 182




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tfowler@swlaw.com
emcomber@swlaw.com
alongstaff@swlaw.com
Attorneys for Defendant Ford Motor Service Company

                           SIXTH JUDICIAL DISTRICT COURT
                       SANPETE COUNTY, MANTI, STATE OF UTAH


ELANORE TILLACK AND ED TILLACK,

                      Plaintiffs,
                                                       DEFENDANT FORD MOTOR
vs.                                                    SERVICE COMPANY’S ANSWER
FORD MOTOR COMPANY, dba LINCOLN                        (Tier III)
MOTOR COMPANY; FORD MOTOR SERVICE
COMPANY; BLUFF STREET AUTO                             Case No.: 210600084
BROKERS, LLC; TAKATA CORPORATION                       Judge: Mandy Larsen
aka TAKATA PROTECTION SYSTEMS INC.
TKJP; TAKATA KYUSHU CORPORATION;
TAKATA SERVICE CORPORATION,
acquired in part by KEY SAFETY SYSTEMS
(KSS),

                      Defendants.


       Defendant Ford Motor Service Company (“Defendant”) hereby answers the Complaint of

Plaintiffs Elanore Tillack and Ed Tillack (hereafter, “Plaintiffs”) as follows:
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.163 Page 154 of 182




                                                  I.

                          PARTIES, JURISDICTION, AND VENUE

       1.        Defendant is without knowledge or information sufficient to form a belief

concerning the allegations of paragraph 1, and therefore denies same.

       2.        Defendant is without knowledge or information sufficient to form a belief

concerning the allegations of paragraph 2, and therefore denies same.

       3.        Defendant admits it is registered to do business in the State of Utah, but denies the

remainder of the factual allegations in paragraph 3. Defendant further responds that it is a separate

entity from Ford Motor Company and that it does not maintain, service, manufacture, or sell

vehicles. The remaining allegations in paragraph 3 assert legal conclusions, to which no response is

necessary. To the extent a response is necessary, Defendant denies the remaining allegations in

paragraph 3.

       4.        Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 4 regarding other defendants and entities, and therefore

denies same. Defendant further responds that it is a separate entity from Ford Motor Company

and that it does not manufacture or sell vehicles. Defendant also responds that Takata Corporation

is an entirely separate company from Defendant. Defendant denies any remaining allegations in

paragraph 4 directed to it.

       5.        Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 5, and therefore denies same. Defendant further responds

that paragraph 5 contains legal conclusions, to which no response is necessary. To the extent a

response is necessary, Defendant denies the remaining allegations in paragraph 5.


                                                  2
Case 4:22-cv-00068-PK Document 2-1 Filed 09/14/22 PageID.164 Page 155 of 182




                                                  II.

                                    STATEMENT OF FACTS

       6.      Defendant hereby incorporates by reference the responses contained in the

foregoing paragraphs as if they were fully set forth herein.

       7.        The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. To the extent a response is required, Defendant denies the

allegations in paragraph 7 and reiterates that it is a separate entity from Ford Motor Company and

that it does not manufacture, sell, or service vehicles.

       8.        The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. To the extent a response is required, Defendant denies the

allegations in paragraph 8 and reiterates that it is a separate entity from Ford Motor Company and

that it does not manufacture, sell, or service vehicles.

       9.        Defendant is without knowledge or information sufficient to form a belief

concerning the allegations of paragraph 9, and therefore denies same.

       10.       Defendant is without knowledge or information sufficient to form a belief

concerning the allegations of paragraph 10, and therefore denies same.

       11.       The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. To the extent a response is required, Defendant is without

knowledge or information sufficient to form a belief concerning the allegations of paragraph 11,

and therefore denies the same. Defendant reiterates that it is a separate entity from Ford Motor

Company and Takata Corporation and that it does not manufacture, sell, or service vehicles.




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       12.      The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. To the extent a response is required, Defendant is without

knowledge or information sufficient to form a belief concerning the allegations of paragraph 12,

and therefore denies the same. Defendant reiterates that it is a separate entity from Ford Motor

Company and Takata Corporation and that it does not manufacture, sell, or service vehicles.

       13.      The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. To the extent a response is required, Defendant is without

knowledge or information sufficient to form a belief concerning the allegations of paragraph 13,

and therefore denies the same. Defendant reiterates that it is a separate entity from Ford Motor

Company and Takata Corporation and that it does not manufacture, sell, or service vehicles.

       14.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 14, and therefore denies the same.

       15.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 15, and therefore denies the same.

       16.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 16, and therefore denies the same.

       17.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 17, and therefore denies the same.

       18.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 18, and therefore denies the same.

       19.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 19, and therefore denies the same.


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       20.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 20, and therefore denies the same.

       21.       Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 21, and therefore denies the same.

       22.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 22, and therefore denies the same.

       23.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 23, and therefore denies the same.

       24.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 24, and therefore denies the same.

       25.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 25, and therefore denies the same.

       26.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 26, and therefore denies the same.

       27.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 27, and therefore denies the same.

       28.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 28, and therefore denies the same.

       29.      The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. To the extent a response is required, Defendant is without

knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph




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29, and therefore denies the same. Defendant reiterates that it is a separate entity from Ford Motor

Company and that it does not manufacture, sell, or service vehicles.

       30.      The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. To the extent a response is required, Defendant is without

knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph

30, and therefore denies the same. Defendant reiterates that it is a separate entity from Ford Motor

Company and that it does not manufacture, sell, or service vehicles.

       31.      The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. The allegations in paragraph 31 of the Complaint also

contain legal conclusions, to which no response is necessary. To the extent a response is required,

Defendant is without knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 31, and therefore denies the same. Defendant reiterates that it is a separate

entity from Ford Motor Company and that it does not manufacture, sell, or service vehicles.

       32.      The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. The allegations in paragraph 32 of the Complaint also

contain legal conclusions, to which no response is necessary. To the extent a response is required,

Defendant is without knowledge or information sufficient to form a belief as to the truth of the

allegations in paragraph 32, and therefore denies the same. Defendant reiterates that it is a separate

entity from Ford Motor Company and that it does not manufacture, sell, or service vehicles.

       33.      The allegations in this paragraph do not appear to be directed to this Defendant

and therefore no response is required. Defendant is without knowledge or information sufficient

to form a belief as to the truth of the allegations in paragraph 33, and therefore denies the same.


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Defendant reiterates that it is a separate entity from Ford Motor Company and that it does not

manufacture, sell, or service vehicles.

                                                  III.

                                   FIRST CAUSE OF ACTION
                                           Negligence
                                     (Against All Defendants)

        34.      Defendant hereby incorporates by reference the responses contained in the

foregoing paragraphs as if they were fully set forth herein.

        35.      Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 35, and therefore denies the same. Defendant specifically

denies that any act or failure to act on its part caused or contributed to Plaintiffs’ alleged injuries

and/or damages.

        36.      The allegations in paragraph 36 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 36 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

        37.      The allegations in paragraph 37 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 37 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.




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       38.       The allegations in paragraph 38 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 38 of the Complaint. Defendant specifically denies that any act

or failure to act on its part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       39.       The allegations in paragraph 39 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 39 of the Complaint. Defendant specifically denies that any act

or failure to act on its part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       40.       The allegations in paragraph 40 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 40 of the Complaint. Defendant specifically denies that any act

or failure to act on its part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

                                                 IV.

                                 SECOND CAUSE OF ACTION
                                  Products Liability Negligence
                                    (Against All Defendants)

       41.       Defendant hereby incorporates by reference the answers contained in the

foregoing paragraphs as if they were fully set forth herein.

       42.       The allegations in paragraph 42 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 42 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.


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       43.        The allegations in paragraph 43 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 43 of the Complaint (including all its subparts) and reiterates

that it does not design or manufacture vehicles. Defendant specifically denies that any act or failure

to act on its part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       44.        The allegations in paragraph 44 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 44 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

                                                 V.

                                  THIRD CAUSE OF ACTION
             Strict Liability under Section 402 Of the Restatement (Second) of Torts
                                     (Against All Defendants)

       45.        Defendant hereby incorporates by reference the answers contained in the

foregoing paragraphs as if they were fully set forth herein.

       46.        The allegations in paragraph 46 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 46 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       47.        The allegations in paragraph 47 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the


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allegations contained in paragraph 47 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       48.       The allegations in paragraph 48 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 48 of the Complaint. Defendant specifically denies that any act

or failure to act on its part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       49.       The allegations in paragraph 49 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 49 of the Complaint. Defendant specifically denies that any act

or failure to act on its part caused or contributed to Plaintiffs’ alleged injuries and/or damages.

       50.       The allegations in paragraph 50 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 50 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       51.       The allegations in paragraph 51 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 51 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

                                                 VI.


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                               FOURTH CAUSE OF ACTION
                         Violation of Statute (Against All Defendants)

       52.      Defendant hereby incorporates by reference the answers contained in the

foregoing paragraphs as if they were fully set forth herein.

       53.      The allegations in paragraph 53 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 53 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       54.      The allegations in paragraph 54 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 54 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       55.      The allegations in paragraph 55 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 55 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       56.      The allegations in paragraph 56 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 56 of the Complaint and reiterates that it does not design or



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manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

                                               VIII.

                                 FIFTH CAUSE OF ACTION
                           Failure to Warn (Against All Defendants)

       57.      Defendant hereby incorporates by reference the answers contained in the

foregoing paragraphs as if they were fully set forth herein.

       58.      The allegations in paragraph 58 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 58 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       59.      The allegations in paragraph 59 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 59 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       60.      The allegations in paragraph 60 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 60 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.



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                                               VIII.

                               SIXTH CAUSE OF ACTION
                    Breach of Express Warranty (Against All Defendants)

       61.      Defendant hereby incorporates by reference the answers contained in the

foregoing paragraphs as if they were fully set forth herein.

       62.      The allegations in paragraph 62 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 62 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       63.      The allegations in paragraph 63 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 63 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       64.      The allegations in paragraph 64 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 64 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.




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                                                IX.

                           SEVENTH CAUSE OF ACTION
        Breach of Implied Warranty for a Particular Purpose And Merchantability
                               (Against All Defendants)

       65.      Defendant hereby incorporates by reference the answers contained in the

foregoing paragraphs as if they were fully set forth herein.

       66.      The allegations in paragraph 66 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 66 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       67.      The allegations in paragraph 67 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 67 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       68.      The allegations in paragraph 68 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 68 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.




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                                             X.
                              EIGHTH CAUSE OF ACTION
                    Negligent Misrepresentation (Against All Defendants)

       69.      Defendant hereby incorporates by reference the answers contained in the

foregoing paragraphs as if they were fully set forth herein.

       70.      The allegations in paragraph 70 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 70 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       71.      The allegations in paragraph 71 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 71 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

       72.      The allegations in paragraph 72 of the Complaint contain legal conclusions, to

which no response is necessary. To the extent a response is necessary, Defendant denies the

allegations contained in paragraph 72 of the Complaint and reiterates that it does not design or

manufacture vehicles. Defendant specifically denies that any act or failure to act on its part caused

or contributed to Plaintiffs’ alleged injuries and/or damages.

                                      GENERAL DENIAL

       Defendant denies each and every allegation, statement, or legal conclusion asserted in the

Complaint not expressly admitted herein.


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                                        PRAYER FOR RELIEF

          Defendant denies that Plaintiffs are entitled to any of the relief sought in their prayer for

relief.

                                     AFFIRMATIVE DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE

          Plaintiffs’ claims may be barred, in whole or in part, by the applicable statute of limitations

and / or repose.

                                SECOND AFFIRMATIVE DEFENSE

          Plaintiffs’ claims may be barred, in whole or in part, because the Complaint fails to state a

cause of action upon which relief may be granted against Defendant.

                                 THIRD AFFIRMATIVE DEFENSE

          Plaintiffs’ claims may be barred, in whole or in part, for lack of jurisdiction over Defendant.

                               FOURTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims may be barred, in whole or in part, because Plaintiffs’ alleged damages,

if any, were caused or contributed to by the negligence or fault or other persons, firms,

corporations, or entities over whom Defendant has and had no control or right of control and for

whom it is not responsible and liability, fault and damages should be apportioned accordingly.

                                 FIFTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims may be barred, in whole or in part, by federal preemption.

                                 SIXTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims may be barred, in whole or in part, by Plaintiffs’ failure to take reasonable

steps to mitigate damages.


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                             SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the Subject Vehicle complied

with all applicable government regulations and standards at the time it was designed,

manufactured, and sold and therefore Defendant is exempt from any award of punitive damages.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the proximate cause of the

accident described in Plaintiffs’ Complaint and the resulting injuries and damages, if any, to

Plaintiffs may have been the use of the Subject Vehicle for a purpose, in a manner, or in an activity

other than that which was reasonably foreseeable or was contrary to an express or adequate

warning appearing on, attached to, or delivered with the Subject Vehicle; and further, the decedent

knew, or with the exercise of reasonable diligence and care should have known, of such

instructions and warnings.

                              NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the percentage or proportion

of fault attributable to Plaintiffs and to others, whether or not joined as parties herein, should be

determined by separate special verdicts pursuant to Utah Code Ann. § 78B-5-819, thereby barring

or diminishing any recovery against Defendant.

                              TENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, to the extent that the alleged injuries

of Plaintiffs were not proximately caused or contributed to by any act or omission of Defendant.

To the extent that Plaintiff suffered from any alleged injuries or damages, they were caused by the

acts or omissions on the part of parties, individuals, and entities other than Defendant.


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                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the Subject Vehicle was not

in the same condition at the time of the events, injuries and damages alleged in the Complaint as

when it left the custody and control of Defendants.

                            TWELFTH AFFIRMATIVE DEFENSE

       If Plaintiffs have received, or are now or subsequently become entitled to recover, any

compensation or benefits from any source in connection with the harm alleged in the Complaint,

the amount of damages, if any, which may be recoverable from this suit shall be diminished by the

amount of said recovery, compensation or benefits.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because at the time the Subject Vehicle

was originally sold, it was fit for its intended purpose and was not defective or unreasonably

dangerous, and it had adequate warnings.

                         FOURTEENTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims may be barred, in whole or in part, because Plaintiffs cannot show that any

reasonable alternative design would have rendered the Subject Vehicle safer overall under the

Restatement (Third) of Product Liability § 2, cmt. f.

                           FIFTEENTH AFFIRMATIVE DEFENSE

Plaintiffs’ breach of warranty claims may be barred by Utah Code Ann. § 70A-2-607.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, to the extent that Plaintiffs have failed

to join indispensable parties necessary to this action.


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                         SEVENTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because Plaintiffs’ alleged injuries

and damages, if any, was the result of Plaintiff Elanore Tillack’s own negligence, carelessness,

inattention, assumption of risk, or otherwise wrongful or unsafe act and Plaintiffs’ damages should

thereby be reduced or eliminated by the percentage of their negligence and fault.

                          EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the limitations and defenses set out

in the Utah Product Liability Act, Utah Code Ann. §§ 78B-6-701 to -707 (2021). Defendant pleads

all available defenses under the Utah Product Liability Act.

                          NINETEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the plans or designs for the

subject product(s), and the method and techniques of designing, manufacturing, inspecting, testing

and labeling (including warnings and instructions for use) the product(s), conformed to the state-

of-the-art at the time the product was first sold and when the product(s) at issue left the control of

the original seller, no practical and technically feasible alternative was available that would have

prevented the harm for which Plaintiffs seek to recover without substantially impairing the safety,

efficacy, or usefulness of the product(s) for its intended use.

                          TWENTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, as the product or products at issue, if

any, were not unreasonably dangerous within the meaning of Utah Code Ann. § 78B-6-703.




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                        TWENTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the doctrines of express or implied

pre-emption as a result of compliance of the product(s) at issue with any applicable industry and

government standards.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, due to Plaintiffs’ failure to read and

heed any applicable warnings.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, because the product or products at

issue complied with all applicable state and federal statutes and government regulations, and

Defendant is entitled to the rebuttable presumption as set forth in Utah Code Ann. § 78B-6-703(2).

                      TWENTY-FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims for breach of warranty may be barred, in whole or in part, by a disclaimer,

exclusion, or limitation of warranties.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims for breach of warranty may be barred, in whole or in part, because

Plaintiffs did not rely on any express or implied warranties, if any existed.

                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ warranty claims may be barred, in whole or in part, for failure to provide

reasonable and adequate notice of any breach of such alleged warranties. Utah Code Ann. § 70A-

2-607(3).




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                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred because the plans or designs for the subject product, and

the method and techniques of designing, manufacturing, inspecting, testing and labeling the

product, conformed to the state-of-the-art at the time the product was first sold.

                       TWENTY-EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred because the allegedly defective product or products at issue

were free from any defects or defective condition and not unreasonably dangerous at the time it

left the original seller’s custody and control.

                        TWENTY-NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by the doctrines of assumption of

the risk and/or unreasonable use of a product.

                           THIRTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because the acts or omissions, if any,

alleged against Defendant in the Complaint were not substantial factors in bringing about the

alleged injuries and damages to Plaintiffs and therefore were not contributing causes thereof, but

were superseded by the acts and omissions of others, which were the independent, intervening and

proximate cause of any damages alleged by Plaintiffs.

                         THIRTY-FIRST AFFIRMATIVE DEFENSE

Plaintiffs’ claims may be barred by the doctrines of laches, waiver, and/or estoppel.

                        THIRTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims may be barred, in whole or in part, by additional affirmative defenses that

may arise during the course of the litigation. Defendant has not knowingly or intentionally waived


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any applicable affirmative defenses or avoidance. Defendant expressly reserves and does not waive

the right to amend its affirmative defenses as investigation, discovery, and/or trial reveal to be

applicable.

                                         TRIAL BY JURY

        Defendant demands a trial by jury for all issues triable by a jury and relies on the fee

previously paid to the Court by Plaintiffs.

                            NOTICE OF ALLOCATION OF FAULT

        Pursuant to Rule 9 of the Utah Rules of Civil Procedure, Defendant hereby provides notice

that it intends to allocate fault to non-parties. In support of its notice of allocation, Defendant

incorporates its answer and affirmative defenses, and further states as follows:

        1.        The Utah Liability Reform Act, Utah Code Ann. §§ 78B-5-817 through 78B-5-823

provides for allocation of fault to parties and non-parties.

        2.        Plaintiffs allege in their Complaint that Defendant is responsible, at least in part,

for their injuries.

        3.        Although Defendant does not seek any affirmative relief from others, it is entitled

to a determination of the potential fault of other named parties and non-parties pursuant to Utah

Code Ann. §§ 78B-5-817 through 78B-5-823 and Rule 9(l) of the Utah Rules of Civil Procedure.

Defendant further provides notice to allocate fault to third parties involved in the use, operation,

maintenance, inspection, repair, supply, and/or sale of the subject vehicle (including its component

parts). These parties and non-parties should be added to the special verdict form for purposes of

determining their percentage of fault for the alleged injuries and damages at issue.




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       4.        Defendant reserves the right to provide notice of additional persons and/or entities

that caused or contributed to Plaintiffs’ alleged injuries or damages, and reserves the right to add

other persons or entities to the special verdict form.

                                     PRAYER FOR RELIEF

       WHEREFORE, having answered Plaintiffs’ Complaint, Defendant prays that it be

dismissed with prejudice, that Plaintiffs take nothing thereby and that Defendant be awarded its

costs and for such other relief as the Court deems just.

       DATED this 14th day of September, 2022.

                                                         SNELL & WILMER L.L.P.


                                                         By: /s/ Elisabeth M. McOmber
                                                         Tracy H. Fowler
                                                         Elisabeth M. McOmber
                                                         Aline Marie H. Longstaff

                                                         Attorneys for Defendant Ford Motor
                                                         Service Company




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this the 14th day of September, 2022, a true and correct copy of the

foregoing Answer was filed with the Court via Greenfiling, which effectuated notice upon all

parties of record, including the following:

        George T. Waddoups
        Geri C. Kelley
        George T. Waddoups & Associates PLLC
        623 East Fort Union Boulevard, Ste. 108
        Midvale, Utah 84047
        george@waddoupslaw.com
        geri@waddoupslaw.com

        Attorneys for Plaintiffs


                                                       /s/ Mary Batchelor
                                                       Legal Administrative Assistant
                                                       Snell & Wilmer L.L.P.




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